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                                         3.3. The Evolution of Narratives in the 2020 Election




 Figure 3.34: The Gateway Pundit articles mentioning “Stop the Steal” in September. Left, a
 September 22 article and poll. Top right, an article from September 24. Bottom right, an article
 from September 29.69



 right-wing media outlets, were repeatedly pushing the Stop The Steal narrative
 online. Some of these narratives were accompanied by more specific claims
 about individual state irregularities (such as alleging they were not counting
 ballots), while others were more general statements that the Democrats could
 not have won the election fairly.

 Besides conservative pundits, a handful of conservative politicians began to
 amplify #StopTheSteal immediately after the election. One was Marjorie Taylor
 Greene, a Republican Congressional candidate in Georgia who won her race in
 the House of Representatives. Greene leveraged multiple social media platforms
 simultaneously to spread Stop the Steal messages and promote herself. She
 posted a Stop the Steal petition on both Facebook and Twitter that, once com-
 pleted, redirected to a donation page. The petition spread in various Facebook
 Groups, including an anti-Whitmer Michigan Group.

 Stop the Steal Groups on Facebook were created at least as early as November 4,
 2020. One Group, STOP THE STEAL, quickly swelled to hundreds of thousands of
 members. In addition to providing a place where users shared election-related
 conspiracy theories, the Group served as a hub to find various Stop the Steal
 rally Facebook events across the country, some hosted by other entities. This
 primary Group was shut down by Facebook on November 5 at 2:00 pm ET, with
 media reports suggesting it was due to content inciting violence;71 data from
 an EIP CrowdTangle archive shows that it had at least 7,000 posts with slightly

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       Figure 3.35: A collage of some of the top conservative pundits using #StopTheSteal on November
       3 and 4. On TikTok, a user filmed a live video of Charlie Kirk using the hashtag #StopTheSteal,
       indicative of the cross-platform nature of this content.




       Figure 3.36: Left, a post from Representative Majorie Taylor Greene, who heavily promoted
       #StopTheSteal. In one of her posts, the petition led to her donation site, right.




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                                       3.3. The Evolution of Narratives in the 2020 Election


 over 800,000 interactions.




 Figure 3.37: Image of several posts in the STOP THE STEAL Group on Facebook. The event page
 of the Group listed upcoming events in different locations hosted by various entities.

Facebook Groups like STOP THE STEAL helped solidify the Stop the Steal move-
ment’s offline component. For example, on November 5, Facebook events were
scheduled for locations including California; Virginia; Washington, DC; Pennsyl-
vania; and Florida. StopTheSteal.us—a website created by Ali Alexander—and its
newsletter also helped to rally people to different locations around the country.
Inflammatory rhetoric was common; for example, in a since-removed tweet on
December 7, Alexander tweeted that he was “willing to give my life for this fight.”
The Arizona Republican Party retweeted, adding, “He is. Are you?”72
Coverage of Stop the Steal in conservative media outlets varied. In the first
two weeks after the election, Fox News had two article headlines mentioning
Stop the Steal in the context of news items (Facebook’s STOP THE STEAL Group
takedown and an incident at a rally).73 In contrast, more niche right-leaning
fringe outlets covered it uncritically, and at times seemingly supportively; for
example, on One America News Network (OANN), coverage of Stop the Steal
included a since-removed article outlining how voters were holding Stop the
Steal rallies in multiple states because of alleged election irregularities.74 The
outlet had steady coverage of the movement, telling viewers how to rally and
broadcasting an exclusive interview with organizers declaring that they will
“Fight on.”75
 Stop the Steal rallies at times morphed into broader pro-Trump post-election
 protests—for example, the Million MAGA March in DC on November 14 was heav-

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       ily promoted by Stop the Steal influencers, and the insurrection on January 6 was
       promoted by StopTheSteal.us. In an email on December 21 from StopTheSteal.us,
       the January 6 protest was heavily advertised, stating, “#StopTheSteal wants
       ALL Patriots to stand up with us in D.C. on what should be a historic day, Jan-
       uary 6, 2021…StoptheSteal.us stands ready to FIGHT BACK with this historic
       protest…we will NOT ALLOW our Republic to be stolen from us!” (bolding
       theirs).




             Figure 3.38: Image of a December 21 email from the StopTheSteal.us newsletter.

       The Stop the Steal movement’s enduring power likely stems from several factors.
       The phrase is all-encompassing of various other false claims and narratives
       pushed about the election, providing an opportunity for many constituencies to
       gather both virtually, and in real life, under one banner. Stop the Steal content
       spread not only on Facebook, but also on Twitter, Parler, and Telegram. Because
       of the many figures pushing the narrative across social media and on websites,
       the movement was robust enough to survive individual takedowns of misleading
       electoral content and targeted deplatforming.

       #Maidengate
       Many narratives co-occurred with Stop The Steal, alleging a variety of forms
       of voter fraud. Some of them rehashed allegations made in elections past;

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 for example, the hashtag #DeadVoters claimed that dead people had voted in
 the election via mail-in ballots (this peaked on November 11, 2020). Another
 hashtag in this vein was #Maidengate,76 which began on November 9, 2020, via
 hashtagged tweets from an account alleging that a Michigan mother’s vote had
 been stolen by an impersonator using her maiden name. The poster claimed
 to know several people who had discovered that a ballot in their name had
 been cast in another state. She described this as intentional fraud, and called
 on voters to check if they had been registered in multiple states due to past
 addresses or name changes.
The claim of mass manipulation via maiden names, absent any evidence besides
anecdotal hearsay, was subsequently promoted on Twitter by Ali Alexander, who
created a website dedicated to the hashtag to try to collect evidence of voter
fraud. He promoted the Maidengate conspiracy on Periscope, gathering 41,000
viewers. #Maidengate chatter and content from the original tweeter’s website
appeared on Reddit and Facebook77 and the hashtag appeared approximately
1,800 times on Parler. By November 12, the Twitter account was suspended.




 Figure 3.39: Left, tweets that precipitated #Maidengate; right, Ali Alexander’s tweet promoting
 the Maidengate conspiracy.

 #Maidengate went sufficiently viral that it generated attention from major media
 outlets focused on debunking election misinformation, including the New York

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       Times. As the Times noted,

            “Soon, the claim that unauthorized people had cast votes under the
            maiden names of real voters started trending online. From Monday to
            Wednesday morning, more than 75,000 posts pushing #MaidenGate
            appeared on Twitter, peaking at 2,000 between 2:10 and 2:15 a.m. on
            Tuesday, according to Dataminr, a tool for analyzing social media
            interactions. Beyond Twitter, the #MaidenGate rumors spread to
            Facebook, YouTube and groups associated with Stop the Steal, which
            have promoted the false narrative that Democrats stole the election
            from President Trump. But no evidence was offered to support the
            #MaidenGate claim in the original tweet. The tweet included no
            details on the maiden name that supposedly had been stolen, so
            there was no way to verify the claim.”78

       We will discuss the specific mechanics of how these types of bottom-up “friend-
       of-a-friend” narratives spread further in Chapter 4. We include it here as an
       example of the way in which many sub-components of the Stop the Steal narra-
       tive were often based on unverifiable claims recast as facts.
       The claims based on alleged voter irregularities, however, were at least rooted
       in the realm of the plausible. There was another collection of narratives, repur-
       posed to explain how the “steal” took place, that were far afield of mainstream
       reality, yet were still amplified on national television by some of President
       Trump’s closest advisors: outlandish election conspiracies in which powerful
       dark forces purportedly conspired to steal the election using secret “Deep State”
       technologies to change votes.


       Outlandish Claims: Attempts to Explain the “Steal”
       Conspiracy theories have increased in visibility in online social spaces over the
       last five years; prominent among them is the cultlike conspiracy theory known
       as QAnon, which alleges that President Donald Trump spent much of his presi-
       dency battling a cabal of Satan-worshipping pedophile elites. Believers of this
       conspiracy are estimated to number in the low millions and many are supporters
       of President Trump.79 In this section, we discuss two specific conspiratorial
       narratives that attracted significant attention in the weeks and months following
       the election: the first, which we will call “Hammer and Scorecard,” began years
       prior to the 2020 election. The second, which we will call “Dominion” after the
       election technology company that figures prominently in the narrative, rose to
       prominence alongside allegations of irregularities in voting machines. However,
       it merged with the Hammer and Scorecard theory to create a hybrid conspiracy
       that spread throughout pro-Trump social media spaces. After Election Day,

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these conspiracies were deployed within the stolen election meta-narrative to
“expose” the machinations behind the purported theft.


 Hammer and Scorecard
In 2017, little-known conservative blog TheAmericanReport.org published a
story claiming that a government supercomputer called “The Hammer” was
created in 2009 by the CIA under President Obama.80 The article claimed that
the supercomputer was designed for spying on, and gathering data from, the
American public and conservative politicians, including Donald Trump. This ma-
chine supposedly included an application called “Scorecard,” which was capable
of manipulating election systems by switching votes to preferred candidates.
The claims underlying the story were made starting in 2013 by Dennis Mont-
gomery, described as a “CIA contractor-turned-whistleblower” who claimed to
have built the system. Various election results worldwide, and in the United
States, were attributed to the work of Hammer and Scorecard. As the conspiracy
re-emerged, updated for the events of 2020, fact-checking organizations and
CISA repudiated them; some pointed out Montgomery’s “history of deception.”81


 Dominion
 Early coverage of Dominion Voting Systems occurred within the general dis-
 cussion of electoral integrity, though mentions of the company appear to have
 taken off in earnest after two actual software glitches on Election Day in Georgia
 counties were tied to Dominion software.82

 In Morgan County and Spalding County, Georgia, outages in electronic poll
 books temporarily prevented voters from using voting machines on Election Day,
 resulting in extended voting hours.83 While the electronic poll books (the lists
 of eligible voters in a precinct) were manufactured by Knowink, a subcontractor
 of Dominion, the usage of Dominion Voting machines in these counties would
 later lead to accusations of widespread faults in Dominion’s software.

The next day, a series of reports emerged alleging voting irregularities in Antrim
County, Michigan, again tied to Dominion: as votes were being reported, several
thousand votes in the county were incorrectly reported for Joe Biden rather
than Donald Trump.84 This error was quickly noticed and resolved. While it
would later be attributed by the Michigan Secretary of State to human error,85
narratives soon emerged that Dominion’s software, which was used to tabulate
these results, was responsible for the glitch. Prominent verified influencers on
social media began explicitly linking this incident to a broader conspiratorial
narrative saying Dominion voting systems were manipulating vote counts all
over the country.86

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       As the Dominion issues were occurring, a since-deleted video grew popular, fea-
       turing retired General Tom McInerney claiming the “Scorecard” application had
       been used by the Obama-Biden campaign in 2012 to steal votes in Florida, and
       was now being deployed by the Biden-Harris campaign in Florida, Georgia, Texas,
       Pennsylvania, Wisconsin, Michigan, Nevada, and Arizona. Other YouTube chan-
       nels such as SGTreport and CDMedia made similar claims, alleging a conspiracy
       to use technology to steal votes.87 The videos spread to Facebook, Twitter,
       Reddit, and Parler, and were republished on alternative video platforms such as
       Rumble and BitChute. At this point, though, the two narratives were still largely
       on separate tracks.
       On November 6, GOP Chairwoman Ronna McDaniel alleged that there had been
       fraud large enough to overturn Michigan’s election results, citing the Antrim
       County reporting error and suggesting that 47 other counties in Michigan using
       the same software may have been affected.88 Disputing McDaniel’s claims,
       the Michigan Secretary of State released another statement reiterating that
       the reporting incident was human error that had been caught by the county’s
       processes and quickly resolved, and that no other counties were affected.89
       Concurrently, however, conservative media outlets and influencers began noting
       that Dominion software was used in 30 states, including all swing states, to imply
       nationwide malfeasance on behalf of Dominion. Articles in the The Gateway
       Pundit and Breitbart began connecting the Michigan and Georgia incidents
       to suggest that the two cases were related.90 The Breitbart article received
       upwards of 300,000 interactions on Facebook alone, and was posted by President
       Trump.91 Similar claims of widespread flaws were shared by influential right-
       wing individuals and groups such as The Western Journal and Mike Huckabee,
       and in Spanish by Mexican author Alfredo Jalife-Rahme.92

       Intersection of the Narratives
       The Dominion narrative merged with the Hammer and Scorecard theory after
       Trump campaign attorney Sidney Powell went on Fox News with Lou Dobbs
       on November 6 and spread a now disproven theory claiming that the software
       glitch that caused erroneous vote counts in Michigan was in fact the deliberate
       work of the “Hammer and Scorecard” program.94 Powell, who was later dis-
       avowed by the Trump campaign after a series of scathing legal rulings in cases
       she helped litigate, gained credence in the Trump orbit for her willingness to
       promote unsubstantiated fraud theories.95 Powell claimed that the purported
       CIA technology altered 3% of the vote total in pre-election voting ballots that
       were collected digitally.
       The converging narratives were amplified by conservative website The Gateway
       Pundit, which quoted Powell at length.96 Similar claims appeared on Trump-
       supporting media channels such as OANN. While the Dominion and Hammer

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 Figure 3.40: Tweets pushing the Dominion conspiracy, including one from President Trump.93


 and Scorecard narratives initially were amplified together, after November 6
 mentions focusing on the Dominion narrative subsumed Hammer and Score-
 card (see Figure 3.41 on the following page); mentions of the latter dropped off
 precipitously, while the former remained significant.
Once the Dominion narrative subsumed the Hammer and Scorecard narrative,
Donald Trump and his campaign quickly became the most prolific spreaders.
President Trump first tweeted about Dominion on November 12, and tweeted
dozens more times in the days following. Donald J. Trump (@realDonaldTrump),
“REPORT: DOMINION DELETED 2.7 MILLION TRUMP VOTES NATIONWIDE.”
Rudy Giuliani repeated similar claims on November 11 and the days after.97
 For weeks after the election, the Dominion narrative persisted and was adapted
 into ongoing narratives around electoral fraud by a variety of communities. One
 video (on YouTube, Rumble, and Reddit) purporting to feature a “smoking gun”

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       Figure 3.41: Mentions of Hammer and Scorecard (blue) were initially linked to mentions of
       Dominion (yellow), but were eventually consumed by the Dominion narrative. (Source: Meltwater
       Social)



       regarding Dominion Voting Systems machines in Pennsylvania was widely shared
       by high-profile accounts in Trump- and QAnon-supporting communities nearly
       four weeks after the election.98 Another theory suggests Smartmatic, another
       technology company, was orchestrating Dominion’s supposed interference.99
       Yet another suggests several USB memory cards containing the cryptographic
       key to access Dominion Voting Systems were stolen in Philadelphia.100 These
       theories, which have been amplified using #StolenUSBs and #Mitattack, were
       published by various outlets, including Russian state media outlet Sputnik In-
       ternational (which credulously reported the claims of 8kun administrator and
       QAnon aficionado Ron Watkins, calling him a “US cyber-security expert”), and
       were repeatedly amplified by the President on Twitter.101

       The claims became increasingly outlandish. Allegations appeared claiming Do-
       minion had ties to individuals frequently scapegoated by conservatives including
       Bill Gates, George Soros, and even members of the Venezuelan government.103
       Others alleged Dominion had links to China, posting URLs to the US Patents and
       Trademark Office website featuring a licensing agreement between the company
       and Chinese bank HSBC.104 The same day that news broke of Russia-attributed
       cyberattacks on US government infrastructure using vulnerabilities in SolarWind
       software, The Gateway Pundit published a piece claiming Dominion used the
       same software, a claim that was quickly denied by Dominion representatives.105
       Both Dominion and Hammer and Scorecard have also been used as key pieces
       of evidence for the “Kraken” narrative in which Sidney Powell would “release
       the Kraken” by dropping indisputable evidence of voter fraud in lawsuits led by
       the President’s legal team, and by the general Stop The Steal movement.106

       The Dominion-meets-Hammer and Scorecard narrative has been adopted into

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   Figure 3.42: A tweet claiming a link between Dominion voting machines and Smartmatic.102




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       the broader belief systems of various right-wing communities, including the
       Proud Boys, the far-right militia group Three Percenters, and the Daily Stormer,
       a Neo-Nazi publication.107 #Dominion was used in 1 of every 7 tweets from
       QAnon accounts.108 QAnon groups used the hashtag #LordMarkMallochBrown
       to demonstrate supposed ties between Dominion software systems and George
       Soros. Lord Mark Malloch-Brown is a board member of SGO, the parent company
       of Smartmatic, and is also on the board of Soros-founded organization Open
       Society.




       Figure 3.43: Hashtag use on Twitter for hashtags related to Dominion Voting System fraud
       narratives.


       The Dominion and Hammer and Scorecard narratives take on additional signifi-
       cance for their link to ongoing incidents of real-world harm. Since the election,
       Dominion employees have been doxxed, harassed, and threatened by right-wing
       influencers and members of the general public.109 In early December a now-
       offline website, EnemiesOfThePeople[.]us, was created (later attributed to Iran,
       and discussed in our report’s “Foreign State-Backed Actors” section), featur-
       ing personal information about multiple Dominion employees with crosshairs
       shown over the faces of each targeted individual.110 Most recently, Dominion
       has begun to file defamation lawsuits against prominent figures involved in the
       perpetuation of the conspiracies we have described, including Rudy Giuliani
       and Sidney Powell.111 As of the writing of this report, several of the publications
       that aired the claims, such as American Thinker, have retracted them.112

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                                                           3.4. Election-Related Violence


 The Hammer and Scorecard and Dominion conspiracies reinforced the Stop The
 Steal movement, which ultimately led to violence. The hashtag appeared on the
 banner of one of the first websites to announce the January 6 rally in Washington,
 DC: “#DONOTCERTIFY #JAN6 #STOPTHESTEAL #WILDPROTEST.”113 And as
 the violent insurrectionists breached the Capitol on that day, #StopTheSteal
 signs could be seen across the crowd. In the next section, we trace threats of
 violence during the 2020 election, leading up to that tragic day.



 3.4     Election-Related Violence
 The 2020 election season brought with it high tensions, and concerns about
 violence were prevalent leading up to, during, and after the election. The EIP
 team monitored channels across the political spectrum to identify and report
 specific threats of violence. While this violence did not materialize on Election
 Day, that relative calm was eclipsed by violent riots on January 6 at the US
 Capitol.

 The violence at the Capitol can be traced to violent rhetoric curated and iterated
 on throughout the pre-election period, on Election Day, and after. Before the
 election, both speculation and true threats of violence centered on tensions be-
 tween existing groups. For example, while the left theorized about the next steps
 of the Proud Boys and similar groups, the right created narratives about “antifa”
 and Black Lives Matter (BLM) groups organizing massive violent insurrections.

 This dynamic shifted distinctly on Election Day, especially among right-wing
 audiences. Content with specific pieces of alleged “evidence” of electoral fraud
 was weaponized to support the organization of real-world violence. Additionally,
 rather than attacking other political groups, the ideology behind consolidated
 movements such as #StopTheSteal spurred violence specifically toward election
 officials and vendors, instead of simply toward “traditional” enemies such as
 the Democrats and associated organizations like BLM. This growing distrust
 of officials and institutions, regardless of political party affiliation, for their
 role in the purportedly “stolen” election culminated in an organized, violent
 insurrection on January 6.


 Pre-Election Concerns
 Prior to the election, the vast majority of violence-related content online was
 users predicting unrest on Election Day and calling on other users to not vote
 in person. This content circulated among both left-leaning and right-leaning
 users, with users differing on who was considered responsible, and who would
 be targeted.

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       Left-leaning social media users circulated false warnings about far-right groups
       and militias. One post about concerns that Proud Boys were planning to shoot
       BLM protesters received over 278,000 likes (see Figure 3.44). Meanwhile, right-
       leaning accounts also posted concerns that left-leaning groups such as antifa,
       BLM, and the Sunrise Movement were planning to commit mass violent acts on
       Election Day or the days following. For example, in September, right-leaning
       accounts spread concern about an image that called for “Antifa comrades” to
       dress up as “patriots/Trump supporters” to confuse the police at riots. This
       image spread to Facebook, Twitter, and TikTok, garnering high engagement: on
       Facebook, there were over 10,000 reactions, 15,000 shares, and 1,000 comments.
       The image was subsequently fact-checked by Snopes and Medium and found
       to be an internet joke from 2017 that had a second wave of popularity in 2020.
       114 Heading into Election Day, pro-Trump accounts asked their followers how

       they would respond to violence or voter intimidation from the left. Audience
       responses indicate that threats of violence and anger were directed at the left
       and leftist groups specifically.




          Figure 3.44: Posts showing concerns about violence from left-leaning social media users.


       Despite the reach and engagement of posts that raised fears about the potential
       for violence, the EIP did not uncover any evidence of violent plans, such as from
       right-wing Discord channels or Facebook Groups. Given the vague nature of the
       claims and the absence of any specific evidence from those who posted concerns
       of violence, these posts were non-falsifiable and unsubstantiated. Most of the
       spreaders of this type of content appeared to be well-intentioned individuals,

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                                                                  3.4. Election-Related Violence


 including members of purportedly targeted communities who wanted to warn
 their communities of an impending danger.115 They encouraged their audiences
 to engage with and share their content; the resulting “copypasta” reposts of
 the text and images spread the misinformation further and created viral panic
 among some online communities.




   Figure 3.45: Posts showing concerns about violence from right-leaning social media users.



 During and Post-Election
 Posts using violent rhetoric or inciting violence after the election significantly
 differed from pre-election posts as they turned from fearing violence to coordi-
 nating and organizing violence. In addition, posts were linked through larger
 narratives, especially election theft, and threats turned their focus to institu-
 tions such as voting systems and the government, instead of partisan groups
 like antifa or the Proud Boys.
 From right-leaning accounts, many violence-related posts became increasingly
 tied to claims of election theft or rigging and at times were part of increasing
 rhetoric that more generally referenced the idea of preparation for civil war.
 Usage of the specific hashtag “#civilwar” on Twitter grew significantly between
 November 1 and November 5, and posts calling for civil war increased as results
 that favored Biden were announced. One Twitter user posted “Let’s just fast
 forward to #CivilWar and get it over with and take out the filthy Cancerous
 #DemocRats and remove them from our society.”
 In the weeks that followed, the EIP additionally tracked calls for violence against
 specific individuals and groups. As discussed in the previous section, employees
 of Dominion Voting Systems received targeted harassment including death
 threats and doxxing of personal information. Online threats became so common
 that Dominion Voting employee Eric Coomer went into hiding.116

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       Figure 3.46: Cumulative instances of the hashtag #civilwar between November 1 and November
       5, 2020.




       Figure 3.47: A right-leaning Twitter user calls for civil war against Democrats in response to
       alleged electoral fraud.




          Figure 3.48: Twitter users call for death or violence against Dominion Voting employees.



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                        3.5. Narrative Crossover and Fabrication in Non-English Media


 Events Surrounding January 6, 2021
 On the morning of January 6, 2021, President Trump spoke to his supporters out-
 side the White House and stated multiple lies about how the election was stolen
 from him. In his speech, Trump referred to Democrats as having attempted
 “the most brazen and outrageous election theft,” and said, “We will not take it
 anymore...We will stop the steal.” He encouraged his followers to march to the
 Capitol and “try and give them [Republicans] the kind of pride and boldness
 that they need to take back our country.”117 A pro-Trump mob then forcibly
 entered the Capitol building and forced Congress to take cover and evacuate.
 Five people died as a result of the Capitol breach.118
 The violent insurrection against the United States Capitol on January 6 demon-
 strated the real-world impact of mis- and disinformation narratives such as
 Stop the Steal, and the effect that social media echo chambers can have on
 organized violence. While earlier concerns about violence did not materialize,
 angry rhetoric was frequent. That anger made its way to the offline world, as so-
 cial media users used platforms to coordinate, recruit, and organize real-world
 violence. Far-right users used “alt” social media sites, like Gab and Parler, to
 openly organize and recruit others to join them, give directions on what streets
 to avoid, and post about bringing weapons into the Capitol.119
 As the violent mob launched an insurrection against the US Capitol on January 6,
 angry comments by pro-Trump protestors filmed in the building, signs carried
 by those outside, and calls for violence against elected officials certifying the
 vote referenced narratives that we have discussed in this chapter.
 In response to mainstream platforms continuing to crack down in the aftermath
 of that violence, users moved off of Facebook and Twitter and onto smaller sites
 with less regulation, such as Parler, Gab, and Telegram. To what extent these
 communities will continue to operate in closed social media networks—the same
 networks that consistently proliferated the notion that the election was stolen
 from President Trump—remains to be seen.120 Regardless, the attack on the
 US Capitol will forever stand as testament to the violence that echo chambers,
 online rhetoric, and sustained misinformation can unleash on the world.


 3.5     Narrative Crossover and Fabrication in Non-
         English Media
 To this point, we have traced English-language incidents, narratives, and con-
 spiracies that shaped the 2020 election. However, although the majority of the
 EIP tickets collected and analyzed election-related misinformation taking place
 in English-speaking communities, there are many American communities that
 participate in political conversations in languages other than English, and on

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       apps and chat platforms popular with diaspora communities. In this section we
       briefly discuss examples of election-related mis- and disinformation in Chinese-
       and Spanish-speaking communities. In both cases, EIP analysts found that a
       majority of the observed content were translations of the same narratives that
       appeared in English—including those featured in prior sections of this chap-
       ter. However, there were also uniquely inflected narratives, outlets, and actors
       targeting these distinct communities.


       Chinese-Language Misinformation
       EIP analysts identified three types of Chinese-language misinformation: (1) mis-
       information translated directly from English-language media, (2) misinformation
       that originates from English-language media but is substantially altered dur-
       ing the adaptation to Chinese-language audiences, and (3) misinformation that
       originates from Chinese-language media and users.
       Additionally, the EIP identified two actors that were prominent in spreading mis-
       and disinformation in the Chinese-language media sphere, with more complex
       motives and sophisticated distribution apparatuses: Falun Gong (法輪功), which
       owns and operates the Epoch Times, and Guo Wengui (also known as Miles
       Guo) and his associated media enterprises, including Himalaya Global and the
       GTV/GNews media group.
       The more influential of the two is Falun Gong, an exiled, virulently anti-CCP
       Chinese religious movement.121 Its media empire consists of the Shen Yun dance
       troupe, US and overseas newspapers including the Epoch Times, television net-
       works such as New Tang Dynasty TV, and the Sound of Hope Radio Network; the
       entire media complex has more than 12 million followers. The group’s ideological
       commitments are fluid, save for a long-standing adversarial relationship with
       the CCP government, but in recent years have trended in a right-wing direction.
       Beginning in 2016, Falun Gong also grew more assertive in domestic politics
       in the US, embracing Trump administration rhetoric while pairing its habitual
       denunciations of the CCP with accusations that Democrats were colluding with
       them.122 In 2020 it published extensively on Hunter Biden’s alleged ties to the
       Chinese government.123
       The other two entities—Himalaya Global and the GTV/GNews media group—
       maintain close connections to exiled billionaire real estate developer-turned-
       media tycoon Guo Wengui. Both have forged close connections with domestic
       US politics and politicians, and in particular former White House chief strate-
       gist Steve Bannon. Himalaya Global rarely produces information on its own.
       Instead, its primary focus is on translating information from English-speaking
       conservative news sources, including Fox News and Steve Bannon’s War Room.
       It also features a channel of Guo’s criticism of the CCP, which is a mixture of

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 purported whistle-blower statements and conspiracy theories, and reiteration
 of his support of Donald Trump.124 The GTV/Gnews media group, by contrast,
 was founded directly by Guo Wengui, with the goal of “taking down the CCP.”125
 GTV/Gnews also reposted many of Bannon’s War Room podcasts. During the
 2020 election in the US, these two media entities actively reposted mis- and
 disinformation on both electoral processes and unverified stories about the
 Democratic candidate and his family, particularly on conservative alt-platform
 Parler. CCP state-backed media’s contribution to mis- and disinformation is
 discussed in the box on 119.

 Narratives Originating from English-Speaking Sources
 Most of the election misinformation that gained widespread reach in the Chinese-
 American community stemmed from English conservative media sources, and
 content closely resembled that source material. Before the election, popular
 narratives from English-speaking media that made their way into Chinese-
 speaking online communities included accusations of Democrats manipulating
 the election, conspiracies surrounding mail-in-ballots, and theories about the
 Deep State.126
 Typically, Chinese-language content was published soon after its English version.
 On November 6, 2020, James O’Keefe of Project Veritas tweeted a video of USPS
 workers alleging that the USPS Postmaster in Pennsylvania ordered workers
 to fraudulently backdate ballots.127 One day later, the Epoch Times published
 a Chinese-language article titled “Penn postal worker allegations: postmaster
 falsifies ballot dates.”128 The article summarized the videos posted by James
 O’Keefe without providing any new information. Similarly, the English-language
 right-wing news site Distributed News published a story on the “Scorecard”
 conspiracy described above. Soon after, the story was picked up and word-for-
 word republished by Sound of Hope, another media outlet owned and operated
 by Falun Gong and with a large online following.129
 Occasionally, Chinese-language users altered the message en route to a new
 audience. For example, in late October, English-language Twitter user @TheP-
 ubliusUSA posted a video purporting to be shot in a mailroom in Florida’s Biden-
 leaning Miami-Dade County, depicting mounds of undelivered ballots alongside
 speculation that USPS failures were harming Biden’s chances in the county.130
 The video went viral on Twitter before eventually spreading to Weibo, a Beijing-
 based Chinese-language social media platform, where a US-based Weibo user,
 Xiyatu Zhixia 西雅图夏至 (Seattle Summer Time), translated the description and
 shared it with her 119,180 followers. Notably, her interpretation was more cir-
 cumspect than the original video’s: “If this story proves true, if these are ballots,
 if the same situation is occurring at other post offices, the consequences will be
 serious.131 ”

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       Figure 3.49: Top, English-language speakers post a video purported to be filmed in a Miami
       mailroom; bottom, a Weibo user reposts the video, speculating that it might hurt the Democratic
       Party.



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 Narratives Unique to Chinese-Speaking Communities
 Chinese-language media did originate its own misinformation, although less
 frequently. These narratives often added an angle alleging a covert relationship
 between the Democratic candidate (or Party) and the CCP, therefore accus-
 ing both the CCP government and the Democratic Party of corrupting the US
 election.

 For example, a Facebook post from November 6, 2020, by Chen Junjun 陳君君
 (Gentleman Chen), captioned as “South Park told the truth eight years ago;
 the CCP is behind the Democrat’s mail-in-ballots voter fraud,” featured a 2012
 clip from South Park joking that Obama colluded with the Chinese to win the
 election.132 The video’s final frames claimed “Joe Biden is stealing the election”
 before exhorting viewers to “Support Trump fight back.” A “Himalayan global”
 icon in the final frame suggests the user may have lifted the video from Miles
 Guo’s media network.




       Figure 3.50: A Twitter post accusing China of sending mail-in ballots to the US.133


 Very occasionally, Chinese-originated misinformation made new claims about

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       the US election without a CCP link. On November 6, Epoch Times posted an
       article in which Gary Yang, a member of the Michigan Chinese Conservatives
       Alliance and a poll watcher at the TCF Center in Detroit, claimed that while he
       and another Republican observed that an estimated 7,000 to 10,000 ballots were
       counted on election night, ballot counters reported 50,000. He also claimed
       the staff were deliberately slowing down the counting process.134 Although
       fact-checking information has not been offered to debunk this specific piece,
       there has been no convincing evidence of large-scale voter fraud in Michigan.


       Spanish-Language Misinformation
       Narratives Originating from English-Speaking Sources
       Similarly to Chinese-language community misinformation, many of the misin-
       formation narratives in the Spanish-language community did not originate from
       within the community. Most were translated from English and circulated via
       prominent platforms like Facebook, Twitter, and YouTube, as well as in closed
       group chat platforms like WhatsApp, and efforts often appeared coordinated
       across platforms.135 Also similarly to Chinese misinformation dynamics, the
       most prominent narratives and those shared were either closely aligned with or
       completely repurposed from right-wing media outlets. Both grassroots users
       initiating bottom-up narratives and verified or large-audience influencers had
       key roles to play in the Spanish-language misinformation ecosystem.
       Non-verified, grassroots users were an important source of the Spanish-
       language misinformation compilations surfaced by the EIP. Q-adherent users
       organically “bootstrapped” off English-language theories to present conspir-
       atorial threads as intricate as those of their English counterparts. In a single
       thread, one such user linked together several false narratives: James O’Keefe’s
       Michigan USPS whistleblower story and the Hammer software narrative, both
       discussed above, and a generic QAnon rallying cry.136 Twitter placed a label on
       the original tweet for the Hammer software claim within this longer thread;
       however, the label on this tweet does not automatically translate to Spanish,
       even if that is set as the default account language. This follows a broader trend
       observed throughout the election season, in which non-English language policy
       enforcement fell distinctly behind even when the narratives themselves were
       the same across languages.137
       The Spanish-language mis- and disinformation sphere also boasted several large-
       scale influencers who paralleled English-language repeat spreaders in dissemi-
       nating the top narratives to large audiences. One example is Aliesky Rodriguez,
       a Cuban-American Trump supporter living in Florida, who hosts a livestreamed
       talk show that has peddled almost every one of the aforementioned narratives
       to his nearly 100,000 subscribers. Rodriguez’s videos often received between

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 Figure 3.51: A QAnon-adherent Twitter user, now suspended, was extremely active during the
 election period, collating several English-language misinformation threads into long-form “edu-
 cational” posts.



 50,000 and 110,000 views. For comparison, prominent Spanish-language out-
 let Univision Noticias, with more than five million subscribers, often receives
 between 5,000 and 30,000 views per video.

 Rodriguez’s channel often involves screen sharing and live-translating English-
 language content while editorializing. On November 5, Rodriguez was joined
 by co-host Amelia Doval for a “live demo” of the dead voter narrative, one of
 the theories peddled by English-language repeat spreaders directly after the
 elections (see Figure 3.52 on the following page). Rodriguez and Doval exag-
 gerated the impact of dead people voting to their Spanish-speaking audience.
 In subsequent shows, they covered topics such as Sydney Powell’s “release the
 Kraken” statements (described in the Dominion section above), the Supreme
 Court rulings on contested election results, and the lead-up to the January 6
 insurrection.

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       Figure 3.52: Aliesky Rodriguez and Amelia Doval push the dead voters narrative. Rodriguez’s
       audience often comments on the “deep seeded corruption,” uses proud statements that “AMERICA
       is for the patriots,” or pivots into religious supplications for “CELESTIAL AID.”




       Figure 3.53: During a November 22 livestream, Rodriguez answered live viewer questions on the
       role of Sidney Powell in “dismantling the electoral fraud” against Donald Trump. A key facet of
       Rodriguez’s videos is screen sharing and breaking down English-language tweets for his Spanish-
       language audience.




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 These efforts often appeared to be coordinated across channels. For example,
 a November 6 video by Rodriguez migrated within moments from his channel
 to Mr. Capacho Tv’s channel, one of the most popular sources for Spanish
 conspiracy theories.




 Figure 3.54: Aliesky Rodriguez’s November 6, 2020, video on his YouTube channel appeared
 moments later on Mr. Capacho’s channel.


 Rodriguez’s channel was neither the only example nor necessarily the most
 prominent in the entire Spanish-language misinformation landscape. However,
 this example illustrates the larger strategy used by many of his peers in serving
 English-originating misinformation narratives to a Spanish-speaking audience.


 Narratives Unique to Spanish-Speaking Sources
 Several outlets have reported on the different politically motivated disinforma-
 tion narratives and QAnon conspiracy theories that spread within the Spanish-
 language communities leading into the election.138 The most prominent such
 narrative connected Biden to socialism, which may have been intended to dis-
 courage Latino voters who fled the socialist regimes in Venezuela, Cuba, and
 Nicaragua from voting Democratic. However, since this content was not related
 to the election processes themselves, it was deemed out of scope of our overall
 EIP investigations.


 Non-English Language Misinformation Impact
 In both the Spanish- and Chinese-language communities the EIP monitored, the
 content that got the most engagement were those that translated claims of fraud
 and delegitimization from English into the audience’s native language. While
 some original content was certainly present in each community, these narra-
 tives were secondary to those based on the “evidence” gathered from prominent
 English-language influencers and viral posts. Thus, although it is not a compre-
 hensive solution, slowing the spread of English-language misinformation could
 still have a significant downstream impact on its virality in non-English language

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       communities. Platforms can be more proactive at detecting this translation
       pipeline, and subsequently labeling this content in the appropriate language.

       Culturally significant messages were sometimes added to the misinformation,
       complicating the fact-checking process. For Spanish-language users, this con-
       tent usually took the form of religious commentary denouncing socialism and
       the left, which appeals to Latino audience members who come from religious,
       often Catholic, backgrounds and/or who fled a socialist regime in their birth
       country. For Chinese-language users, this took the form of alleged collusion with
       the Chinese government or the Communist Party. Effective fact-checks were
       notably lacking for both of these communities: improvements to this process
       should not merely translate the fact-checking content into the correct language,
       but also take these cultural aspects into account.

          Foreign State-Backed Actors in the 2020 Election

          It’s difficult to rigorously compare foreign interference campaigns in the
          2016 and 2020 US election cycles, given the enormous differences in
          awareness and preparedness between both electoral cycles.
          In 2016, information operations on social media were a true blind spot
          for entities charged with protecting the integrity of the election, from
          Silicon Valley to Washington. The full scope of the Russian campaigns
          targeting the 2016 election only came to light in 2017-2018. By November
          2020, a professional field had emerged that focused on ensuring these
          operations would be detected and exposed faster. Between December
          2019 and Election Day, 12 foreign information operations focused on the
          US 2020 elections were detected, attributed, and exposed by platforms,
          government entities, and researchers. It is worth noting that this section
          only covers the operations that the Partnership investigated during the
          height of the electoral period, excluding the handful of foreign information
          operations targeting the US 2020 election that had been detected and
          deactivated months prior to the height of the electoral season.
          A range of foreign actors were assessed to have a vested interest in the
          outcome of the elections, both in terms of the actual result and its recep-
          tion by the American public. The Election Integrity Partnership prioritized
          monitoring actors based in China, Iran, and Russia during the election
          period. Using a combination of investigative methods and ongoing mon-
          itoring, the Partnership was able to track the covert and overt efforts
          made by foreign actors to influence the US 2020 election.
          On the covert side, this notably involved monitoring new or continued
          activity from networks that have been previously attributed to Russia,


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    China, and Iran and were involved in targeting Americans via grey propa-
    ganda and social media engagement. In terms of covert operations, actors
    originating in these three countries appeared to take different approaches
    to the 2020 US elections. Assets linked to the former Russian Internet
    Research Agency (IRA) consistently amplified narratives about electoral
    fraud throughout the election and post-election period, primarily through
    their presence on alternative tech platforms like Parler and Gab.
    On the overt side, a number of different approaches were taken. Live
    network maps provided by Graphika revealed that official state outlets
    affiliated with Russia, Iran, and China were publishing and commenting on
    the subject of the US elections throughout the campaign period. Russian
    state media and the social media presences of state officials and institu-
    tions were heavily engaged with the topic of the US elections. However,
    Chinese and Iranian state outlets were less consistent in their coverage.
    Both states adhered to the line that the elections were unimportant for
    their countries and would not affect their perspective on the relationship
    between themselves and the US. Instead, China and Iran concentrated on
    portraying the US as a lawless, “failed state.”

    Covert Operations
    A variety of operations from state actors and organizations indicated
    that there were adversaries interested in targeting the 2020 election.
    There were disparate and somewhat unsuccessful attempts to lay the
    groundwork for information operations during the 2020 election cycle
    using techniques like faux news rooms, false personas, AI-generated faces,
    and manipulation of unwitting freelancers for reporting.
    Russia
    Russian efforts to target the US 2020 election can be traced back to earlier
    operations exposed in late 2019.139 This section will focus on a small set
    of campaigns active around and throughout the height of the electoral
    season rather than provide a comprehensive survey of foreign information
    operations having targeted the US 2020 election.
   On September 1, 2020, Facebook and Twitter announced that they had
   received investigative tips from the FBI regarding an IRA-linked website,
   “PeaceData,” which recruited US-based freelancers to populate articles
   for a faux newsroom espousing left-wing political perspectives. Several
   platforms removed accounts associated with the operation.140
    In early October 2020, Graphika first reported on a set of Pages, profiles,



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          and a website known as NAEBC, which is attributed to individuals associ-
          ated with past IRA activity. This particular effort revolved around a fake
          far-right “newsroom” website, NAEBC, which stands for the “Newsroom
          for American and European Based Citizens.”141 This operation appeared
          to be the right-wing counterpart to the previously discussed “PeaceData”
          endeavor. This front media site had associated accounts operating on
          Parler and Gab, which functioned as an amplification network posing as
          conservative individuals who repeatedly shared its articles. Some of these
          personas authored content on the website. However, after the operation
          was exposed, the network stopped writing its own articles and instead
          focused on sharing content written by genuine, recruited right-wing indi-
          viduals as well as content copied from known far-right websites. By the
          time of the US election, NAEBC-related assets had been removed from
          Twitter, Facebook, and LinkedIn. However, the amplifier accounts on
          Parler, Gab, and alternative platforms remained active throughout the
          duration of the election, and engaged in discussing the upcoming vote.
          NAEBC contributed to many of the narratives discussed in this paper.
          During election week, articles posted on the operation’s website included
          a report on “massive voter fraud in Wisconsin,” coverage of Republican poll
          watchers being “blocked” in Philadelphia, and an article that portrayed
          Trump as a sacrificial demigod. These assets also shared a number of
          articles and commentary on civil unrest, including an editorial (copied
          from a US blog) that claimed, “Our dirty, dangerous, and diseased cities
          are now being destroyed by dirty, dangerous, and diseased animals.” After
          the election, the NAEBC accounts focused on Dominion voting software,
          particularly by claiming the company is tied to antifa. Despite building
          up their Parler and Gab presence in an attempt to generate interaction
          with memes and photomontages, and increasing their rate of posting
          throughout the electoral cycle, Russia-linked covert accounts did not
          achieve any significant traction with the targeted communities.
          China
          Similarly to Russia, networks of political spam accounts pertaining to
          a China-linked coordinated influence operation attempted to engage
          with American communities during the 2020 election—and were similarly
          unsuccessful. The Spamouflage network, which emerged as a Mandarin-
          language cluster of accounts that debuted English content in the summer
          of 2020, avoided mentioning the election directly, instead continuing to
          propagate content that portrays the US in a negative light.142
          The prolific Spamouflage network, which includes a large number of assets



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    with shallow or non-existent personas reposting and recycling a large
    volume of content, has been hit by a series of rolling takedowns since
    its exposure on YouTube (its primary platform), Facebook, and Twitter,
    forcing it to stand up dozens of new accounts each time. This cycle of
    suspensions led to a surge in Spamouflage videos being posted on new
    channels in September and October 2020, with up to 15 videos emerging
    per day, some of them shared by previous assets; they have not achieved
    any significant engagement.
    On November 6, after the election had been called, a Spamouflage video
    referenced election-related protests in New York the previous day, with-
    out mentioning the vote. From November 10 onwards, Spamouflage videos
    commented on the election outcome as a further sign of the “impending
    collapse of America.” Some videos were particularly hostile toward Trump,
    but most were bipartisan in tone and focused on criticizing the entire
    structure of US politics. Throughout the election period, Spamouflage
    English-language videos contrasted the US response to COVID-19 with
    China’s response.
    In addition to Spamouflage campaigns, Facebook unveiled a separate net-
    work of China-based inauthentic assets, which contained a very small num-
    ber of assets supporting President Donald Trump or Joe Biden and a short-
    lived Group supporting former presidential candidate Pete Buttigieg.
    None of these had much traction by the time the platform took enforce-
    ment action.143
    In spite of this core difference in approach, Russian and Chinese covert
    operations both focused on the notion that the US is a “lawless state”
    facing an “inevitable civil war.” This theme was also noted by the EIP in
    its monitoring of the narratives circulated by official state outlets, and
    raises concerns about how covert operations from foreign actors can
    leverage the rallying calls of domestic extremist movements—in this case,
    accelerationism.
    Iran
   Iran similarly has a track record of information operations targeting US
   communities.144 Note, for instance, a handful of websites and affiliated
   accounts referring to themselves as the “IUVM network” (standing for
   “International Union of Virtual Media”), which has created persistent in-
   formation operations and triggered multiple waves of enforcement across
   platforms. In October, these Iranian operations saw a significant part of
   the domain names used to spread disinformation seized by the US Depart-
   ment of Justice.145 However, other Iran-linked campaigns persist: less


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          than a month before the US election, the Stanford Internet Observatory
          documented and analyzed a Twitter campaign attributed to Iranian actors
          in which actors compromised authentic accounts and created fake ones
          to disseminate content supporting Black Lives Matter.146
          On October 19 and 20, 2020, voters in multiple states including Alaska
          and Florida received emails purporting to be from the far-right group the
          Proud Boys, instructing them to vote for Donald Trump or face retalia-
          tion. Some of the emails included personal details of the voters in ques-
          tion. These emails appeared to come from “info@officialproudboys[.]com,”
          though it was later determined that this address had been spoofed and
          the emails had been sent from servers in Estonia, Saudi Arabia, and the
          United Arab Emirates. In some versions of the email, a video link was also
          included; this video purported to show someone accessing voter informa-
          tion and claiming to demonstrate a method of casting fake ballots.147 The
          EIP obtained several of these emails, including from our partners at the
          NAACP.148




               Texts sharing screenshots of emails purporting to be from the Proud Boys.


          In a remarkably fast public attribution process, on October 22 the De-
          partment of Justice held a press conference attributing this activity to



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    Iran, though few details were provided.149 During the conference, it was
    stated that both Russia and Iran had accessed US voter data; however,
    the information contained in the “Proud Boys” emails appeared to have
    been gathered from states that have publicly available voter registration
    information, meaning this campaign could have been carried out with-
    out needing to acquire any private data. The DOJ did not provide any
    additional evidence to support this attribution.
    A series of websites created in early December showed an “Enemies of
    the People” list, showing the personal information of a number of elected
    officials and government employees who were countering claims of voter
    fraud in the 2020 election; the site also listed employees of election soft-
    ware manufacturer Dominion, reflecting the allegations promoted by the
    Trump legal team and right-wing media. This effort saw the operators
    including platforms such as Parler and Gab in their social media cam-
    paign. This activity was attributed to Iran by the FBI, as reported in the
    Washington Post on December 22.150




                     Doxxing on the Enemies of the People website.


    Overt/Openly Affiliated State Outlets
    While covert information operations were scarce, state media propaganda
    activities continued to varying degrees. Russian state outlets, including
    Kremlin-affiliated media entities, diplomats, and other state representa-



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          tives, were actively engaged in amplifying some of the most divisive stories
          described previously in this chapter, focusing predominantly on promot-
          ing Donald Trump and casting doubt on the integrity of the electoral
          system. China was relatively quiet for much of this period. Iran, simi-
          larly to China, did not spend much time on the election itself; it focused
          on portraying the US as a declining power with an electoral outcome of
          little consequence. 2.1 Russia Throughout the election period, Russian
          state-affiliated outlets (including state representatives) engaged heavily
          on the topic of voter fraud.151 In the lead-up to the election, there was a
          focus on the issue of mail-in ballots and amplifying allegations of interfer-
          ence from USPS workers, alongside accusations of Big Tech “interference”
          and “censorship.” As the election approached, a number of the principal
          Kremlin-affiliated media outlets amplified domestic disinformation narra-
          tives about Joe Biden and his family. For example, in the month prior to
          the vote (October 3–November 3), RT (formerly Russia Today) published 52
          articles and pieces of video content about Hunter Biden or the Biden fam-
          ily more broadly. This tranche of content includes op-eds with headlines
          like “Blaming Russia for Hunter’s problems was a big misstep, Joe, and it
          may prove to be your downfall.” Notably, many of the more aggressive
          articles published during this period were opinion pieces posted on the
          RT and Sputnik websites rather than directly authored by the outlets.
          The EIP, among others (including the Department of Homeland Security),
          also documented the concerted effort by Russian state outlets to amplify
          disinformation about mail-in voting in the run-up to the election.152 The
          Partnership processed over 35 tickets related to Russian outlets spread-
          ing election disinformation over the course of the monitoring period.
          There was one incident in which accusations of Russian activity required
          de-escalation. This incident culminated with the announcement made
          by National Intelligence Director John Ratcliffe on October 22 in which,
          alongside attributing the spoofed Proud Boys emails to Iran, he claimed
          that Russia had also obtained voter information that could be used to
          endanger the election.153 Previous claims on social media, particularly on
          Twitter, Facebook, and Reddit, had alleged that registration data for 15
          million voters in Florida had been hacked and posted on a Russian forum.
          However, the data of concern appeared to be standard public information
          made available by the State of Florida and not discernable evidence of a
          hack.154 Ratcliffe’s announcement appears to have referenced a different
          incident where private voter information was obtained.
          Following election day, the focus of Russian state outlets appeared to shift
          to delegitimizing the results and alleging fraud on behalf of the Democrats



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    on a broader, more systemic level. English-speaking followers of these
    outlets doubled down on the false Dominion narrative, “whistleblower”
    accounts from poll workers in swing states, and claims that the outcome
    had been pre-determined by a group of “shadowy elites.” A number of
    these narratives continued well into the post-election period. Additionally,
    Russian state media spread claims of civil unrest and violent protests. On
    Twitter and Facebook, Sputnik claimed that a Black Lives Matter-allied
    group threatened violence if Trump did not concede, and RT posted a
    documentary-style video pushing a “civil war” narrative. Russian state
    media also leveraged livestreamed video of protests and in-the-street
    actions from its entity Ruptly, which it aired on RT as well as lesser-known
    entities such as Redfish and In The Now.




    Left, a tweet by Russian state-backed media property Sputnik claiming Black Lives Matter
    groups had threatened violence; right, an RT tweet of a video predicting civil war in
    America.


    China
    Chinese state media and official accounts appeared to be taking a relatively
    direct stance toward the topic of the US elections in the months prior to
    the vote, but as Election Day drew closer, Chinese state officials and media
    agencies grew quiet. After NCSC Director William Evanina’s statement
    alleging electoral interference by China, Russia, and Iran (in that order),155
    election-related activity from state media and CCP spokespeople declined


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          significantly. Reporters at state-backed outlets have said that they were
          told to ensure coverage was “calm” and “neutral,” and were advised not to
          focus on the election.156
          In one interview, Fu Cong, Director-General of Arms Control of the Min-
          istry of Foreign Affairs, stated “Well, we know that the US general election
          is coming very soon. And I don’t want to make any comments that may
          be interpreted by the US as interfering in their internal affairs or in their
          general election.”157 Following this guidance, the limited coverage that
          did exist was even in tone, with the exception of some editorials in state
          outlets that argued the election would make little difference to US-China
          relations, given what they described as bipartisan hostility toward China.
          After the election, state representatives followed Xi Jinping’s lead and
          did not acknowledge the results until three weeks after the vote. State
          media covered the election results with a cautiously optimistic tone, but
          continued disparaging the US overall. In terms of reception, Chinese
          citizens tended to celebrate Joe Biden and mock Donald Trump, while
          Chinese Americans typically had mixed responses that leaned pro-Biden.
          Notably, both Chinese state media and CCP representatives were willing
          to forcefully criticize the Trump administration, particularly Secretary
          of State Mike Pompeo, but they rarely attacked Trump himself and did
          not express any explicit candidate preference. Even during the week
          of the election, Foreign Ministry Spokesperson Hua Chunying harshly
          criticized the US while avoiding the election itself.158 Throughout the
          election period, Hua appeared to shape the narratives and tone that CCP
          representatives then echoed. While she has significantly fewer followers
          than state media outlets, she is consistently the most-mentioned account
          among followers of Chinese outlets and CCP representatives.
          Iran
          Iranian state-backed outlets frequently used coverage of the US to dimin-
          ish the country and cast Iran in a favorable light, but rarely engaged in
          what can be classified as the widespread propagation of disinformation.
          On occasion, Iranian outlets did publish content designed to attack the
          legitimacy of the American electoral process—saying it fell short of its
          democratic ideals and was likely to be marred by violence. This at times
          involved questioning American democracy altogether—in some cases us-
          ing the voice of American academics, “analysts,” activists, or media outlets
          to do so.
          During election week, Iranian officials sought to undermine the efficacy
          of the US system of government, with Ayatollah Ali Khamenei releasing a


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   speech in which he described the election as a “spectacle” showing the
   “ugly face of liberal democracy in the US” where the only certain outcome
   is “the political, civil, & moral decline of the US regime,” and furthered the
   narrative that the US was facing an existential crisis.159 Broader Iranian
   coverage focused on domestic issues like racial disparities and social
   divisions, the treatment of protesters and minorities by the police, and
   growing fears of civil unrest within the US.
   In a similar vein, Tehran-based Mehr News Agency used an October re-
   port from the Department of Homeland Security warning about foreign
   election interference to suggest that such warnings were “old ways” of
   “creating panic” among the American public and were designed to induce
   participation in the electoral process—and presumably to lend the elec-
   tion a stronger legitimacy.160 In at least one instance, Iranian outlets used
   a report from The Hill about concerns over the absentee voting system in
   Texas to heighten fears of voter suppression in the US.161
    Through quotes from official and op-ed pieces, Mehr, Fars, Tasnim, and
    other Iranian state-backed outlets frequently promoted the notion that
    Trump and Biden were roughly equivalent in terms of their antagonism
    toward the interests of the Regime and the Iranian people, and so the out-
    come of the election was largely irrelevant to Iranian interests. However,
    at times these outlets showed a slight preference for a Biden adminis-
    tration if only because of President Trump’s open hostility toward the
    country. This narrative stayed fairly consistent even in the days following
    the election, with only minor adjustments.



 3.6     Fact-Checking Claims and Narratives
 In some cases, the direction and life cycle of a narrative can be diverted, or
 even stopped, by way of authoritative fact-checking. As narratives containing
 misinformation and conspiracy theories about the election emerged and spread
 on social media, fact-checking by news sites, professional organizations, and
 election officials often followed—but their efforts were not uniformly received.
 Some high-profile narratives were fact-checked and easily debunked by journal-
 ists, government officials, and mainstream media, including EIP partners. Other
 false narratives escaped the notice of the fact-checking community for weeks,
 or were never fact-checked at all.

 In the following section, we examine examples of the fact-checking response to
 two of our prominent misinformation case studies from earlier in the chapter:
 Sharpiegate and Dominion Voting Systems.

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       Case Study 1: Fact-Checking Sharpiegate
       As the Sharpiegate narrative grew on Election Day and the days immediately
       following, government offices and news media began to fact-check the claims.
       This was particularly true in Arizona. On November 3, 2020, at 12:09 pm PT,
       before polls had even closed, the Maricopa County Elections Department posted
       a video that debunked these claims to their Facebook account.162 Many com-
       menters remained unconvinced: some of the most popular comments on the
       video claimed that their ballots were canceled, and attributed this to using a
       Sharpie. Despite this initial attempt at debunking, posts on social platforms
       continued to propagate the misinformation narrative of election fraud based on
       the breadth of Sharpie use and the “massive bleed through” they cause.
       The next morning, November 4 at 8:50 am PT, Pima County released a tweet
       thread citing the Arizona Election Manual, clarifying that all ballots would be
       counted regardless of the type of writing implement used.163 Again, many of the
       commenters who replied were skeptical at best: comments mostly questioned
       why officials would allow the usage of felt-tip or Sharpie markers if there was
       the chance of bleeding through the ballot. Other comments pushed back on the
       officials’ claims, asked follow-up questions, and continued to allege that the offi-
       cials were guilty of fraud because of the “suspicious” nature of the clarification.
       The Maricopa County Board of Supervisors posted an open letter to Maricopa
       County voters, articulating that accurate vote counting was a bipartisan com-
       mitment, and took on Sharpiegate directly: “sharpies do not invalidate ballots.
       We did extensive testing on multiple different types of ink with our new vote
       tabulation equipment. Sharpies are recommended by the manufacturer because
       they provide the fastest-drying ink. The offset columns on ballots ensure that
       any bleed-through will not impact your vote.”164
       More fact-checks appeared that same day. Arizona Secretary of State Katie
       Hobbs released a Twitter thread debunking Sharpiegate, with a marginally more
       positive effect (and over 12,000 engagements), and AZ Family News published a
       fact-check linking to Hobbs’s tweet thread and the Maricopa County video.165
       But the misleading narrative continued to spread.
       Despite these early fact-checks by government officials, the platforms’ responses
       to the claims were neither timely nor standardized. On Twitter, some Sharpie-
       gate content came down, other tweets were labeled, and still others were left
       untouched. Facebook, Instagram, and TikTok had similar responses: labeling
       and removing some, but not all, of the Sharpiegate content. The YouTube videos
       related to the Sharpiegate narrative were labeled, but none were taken down.
       Despite the many efforts made by news outlets and state officials to fact-check
       these claims, the narrative spread quickly, and the same misleading content
       appeared across multiple platforms. The Sharpiegate narrative reached thou-

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 sands of individuals and inspired some of them to organize and participate
 in real-world protests.166 Despite the prompt attempted debunking of these
 claims, belief in Sharpiegate persisted, and it was ultimately incorporated into
 the broader subsequent Stop the Steal narrative.


 Case Study 2: Fact-Checking the Dominion Narrative
 As the allegations against Dominion Voting Systems moved from Georgia to
 Michigan to states across the country, fact-checkers tried to keep up. On
 November 6, the Michigan Department of State issued a statement on its web-
 site refuting allegations that Dominion Voting Systems was responsible for voter
 fraud in Antrim County.167 The statement was subsequently shared by the Michi-
 gan Department of State’s Twitter account, with responses in the comments
 varying from gratitude for the clarification to outright denial of the Department’s
 refutation.168
 Similarly, on November 12, CISA released a statement certifying that there was
 “no evidence that any voting system deleted or lost votes, changed votes, or was
 in any way compromised.”169 CISA’s findings were subsequently corroborated by
 the US Department of Justice when Attorney General Bill Barr confirmed that
 there was no evidence of widespread voter fraud.170
 The narrative also centered on the swing states of Arizona, Georgia, and Penn-
 sylvania; in each state, fact-checkers debunked the claims. In Arizona, the
 Maricopa County Board of Supervisors refuted claims of voter fraud by Domin-
 ion Voting Systems in a public statement.171 The Georgia Secretary of State
 released a statement confirming that “the original machine count accurately
 portrayed the winner of the election.”172 In Pennsylvania, the state validated the
 accuracy of the voting machines and their official tallies, further highlighting
 that Dominion Voting machines had not been used in counties such as Allegheny
 and Philadelphia—counties that Trump falsely claimed were responsible for
 rigging the election.
 Dominion Voting Systems released its own statement debunking claims that its
 systems were used to switch votes or to fraudulently cast votes. The statement
 cited evidence to refute claims of vote manipulation in the same four states:
 Arizona, Georgia, Michigan, and Pennsylvania.173
 Though false allegations of voter fraud due to Dominion Voting machines were
 repeatedly debunked, propagation of misinformation relating to vote tabulation
 and voting interference nonetheless appears to have had a significant impact
 on how the 2020 election was perceived—social media commentary alleging
 malfeasance was extensive and widespread. Nearly a month after the election,
 election officials and public officials in Georgia were still continuing to hold
 press conferences to debunk the misinformation.174 Even beyond that, members

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       of the Trump administration as well as Trump’s supporters continued to pursue
       allegations of fraud related to the Dominion voting machines (discussed further
       in Chapter 4), which repeatedly reinforced claims of a rigged election among
       supporters. This case was an example of the balancing act that must take
       place when fact-checking: because fact-checking can draw further attention to
       misinformation or conspiracy, individuals or organizations debunking stories
       must take care to not unintentionally amplify narratives that could cause real
       world harm, fear, or suppression.175


       3.7     Final Observations
       Tickets processed by the Election Integrity Partnership and external organiza-
       tions were diverse—focused on different real or purported incidents, in different
       states, over the course of months. The Partnership’s breadth of exposure to
       election-related narratives provides unique insight into how misinformation
       evolved and the themes that cut across these discrete time periods. We conclude
       with five reflections on election-related misinformation narratives:
       1. Researchers can predict, but not necessarily prevent, these dynamics.
       On October 26, 2020, during the pre-election stage, a team of EIP researchers
       published a piece, “Uncertainty and Misinformation: What to Expect on Election
       Night and Days After.”176 This blog post presented a set of expectations, including
       that the winner of the election would not be known on election night, that
       red/blue or blue/red shifts would create opportunity for political actors and
       conspiracy theorists to delegitimize the election, that voting process failures
       would be strategically framed and overemphasized to fit misleading narratives,
       and that “bad statistics” would be selectively highlighted.
       The EIP post demonstrates the extent to which election-related misinformation
       was predictable. As described throughout this chapter, many of these predic-
       tions were realized. However, ease of prediction does not necessarily correlate
       with ease of prevention. Although the EIP and others published advice for jour-
       nalists covering the election and many journalists followed best practices, the
       predictable misinformation narratives still played out during and after election
       night. Further research should explore the effectiveness of prebunk/inoculation
       strategies, clear journalistic coverage, and fact-checking in the 2020 election.
       The post also suggests the need for more ambitious models to counter pre-
       dictable election-related misinformation, and the difficulty credible journalists
       will face in trying to prevent election-related misinformation altogether. Plat-
       forms also, to our knowledge, did not adequately systemize the predictability of
       certain narratives to create preventative policies.
       2. Non-falsifiable misinformation provides challenges for platforms.

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 The election information ecosphere was replete with non-falsifiable claims. For
 example, when Project Veritas relies on anonymous whistleblowers, it is difficult
 for independent news outlets to determine the veracity of the whisteblowers’
 claims. Likewise, when social media users post that a “friend of a friend” experi-
 enced or witnessed a particular event, researchers can’t reliably prove that the
 claim of an unnamed “friend” is false.
 Non-falsifiable narratives erode the information ecosphere; the clarity of fact
 and the power of credible voices is muddled by non-falsifiable noise. In the 2020
 election, the EIP witnessed numerous non-falsifiable tickets—some labeled by
 platforms, others not—which contributed to broader narratives that the election
 was unreliable or rigged. And when clearly falsifiable narratives were fact-
 checked, they still became part of the conspiratorial discourse about election
 fraud. Non-falsifiable information created for political gain will continue to be a
 challenge for platforms moving forward. But so will clearly falsifiable information,
 if platforms do not adequately and consistently take action against false claims.
 3. Frames, not just facts, set the course.
 Much of the misinformation the EIP observed in the 2020 election—including
 non-falsifiable content—relied on framing. As we will describe in Chapter 4,
 “frames highlight some bits of information about an item that is the subject of a
 communication, thereby elevating them in salience.”177 Whether a mail-dumping
 incident is seen as a one-off mistake by a postal service agent or as Democrats
 stealing the election, or whether a red mirage/blue wave is evidence of mail-in
 ballots arriving after Election Day or a conspiracy at work, depends on how the
 event is framed.
 Misinformation in the 2020 election cycle shows that how information is pack-
 aged largely determines the effect of that information. In Chapter 4, we’ll de-
 scribe how different actors use framing techniques to channel information to
 align with their priors and their favored outcomes.
 4. From online to off—election-related misinformation can have real-world
 effects.
 One of the biggest challenges in the misinformation research community is how
 to measure effects. The baseline is often to use engagement statistics—how
 many people like, comment, or share a post, for example. Throughout this
 report, we often refer to such engagement statistics. However, there is a gap
 between engagement on social media and change in attitudes or behaviors. Just
 because someone “likes” a piece of misinformation does not necessarily mean
 that they believe it or that it changed their view.
 In this election cycle, EIP partners observed misinformation on social media form
 the basis of real-world actions—including the formation of activist groups and
 protests, and ultimately a violent insurrection at the Capitol. Misinformation in

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       the pre-election stage undermined confidence in mail-in voting, delegitimizing
       the election process and setting the stage for post-election claims that the elec-
       tion was stolen. For months, right-wing social media users had been fed online
       “evidence” of a rigged election, coalescing into a movement to #StoptheSteal.
       Right-wing social media personalities—including individuals who have repeat-
       edly been tied to spreading misinformation and conspiracy theories—created a
       website and email discussion list for #StoptheSteal supporters to mobilize.178
       Over a month after the election, #StoptheSteal events continued to take place
       nationwide—some with kinetic effects including stabbings and other violence.179
       On January 6, the real-world effects of election-related misinformation reached
       fever pitch. Ali Alexander and other right-wing influencers had encouraged
       Trump supporters throughout the country to converge on Washington, DC, to
       protest in person. That morning, the President told a crowd of supporters that
       “this election was stolen from you, from me, from the country” and encouraged
       his supporters to march on the Capitol. A group of these protestors—including
       white supremacists and QAnon believers—violently broke into the Capitol, killing
       Capitol Police officer Brian Sicknick; four others died during the riot. The series
       of events shows that online misinformation can engender real-life radicalization
       with deathly consequences. Even as some social media platforms removed
       content from the day, the stain on American democracy remains.




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                                                                         Chapter        4
       Cross-platform and Participatory
         Misinformation: Structure and
                             Dynamics

 4.1     Introduction
 In this chapter, we attempt to understand how false and misleading narratives
 about the 2020 election, highlighted in Chapter 3, took shape and spread across
 a multiplatform information ecosystem. During the 2020 election, misinforma-
 tion was shared across a range of social media—from broadly popular platforms
 like Facebook, Instagram, Twitter, and YouTube, to niche sites like Reddit, to
 up-and-coming sites like Periscope and TikTok, to “alt-platforms” such as Par-
 ler, and to message boards such as the chans or thedonald.win. These diverse
 platforms were leveraged in distinct and often complementary ways by those
 spreading false and misleading information about the election. Additionally,
 algorithmic curation systems shape the dynamics of social networks, and behav-
 iors that manifest across them, as engagement begets algorithmic amplification,
 complicating the story of how content is created, disseminated, and reaches
 end users. Here we examine the underlying structure of this ecosystem—the
 different platforms involved, and the way information moves between them. We
 consider the affordances of their features, which enable communities to form,
 and enable individuals to activate those communities.
 Much of the misinformation narratives that we articulated in Chapter 3 involved
 the active participation of ordinary people. But rank-and-file accounts and
 influencers alike strive to capture the attention of larger and larger audiences, in
 a bid, ultimately, to gain the power that such attention confers.1 For each social
 platform, we consider the “work” that is done to create and spread narratives—

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4. Cross-platform and Participatory Misinformation: Structure and Dynamics


       what we might infer as tactics as well as other dynamics—to describe how these
       false narratives developed, and to highlight the techniques used to produce
       them, spread them, and sustain them over time.




       4.2     Cross-Platform Information Sharing
       Each platform enables different kinds of social and information interactions;
       for example, TikTok’s user base has a large youth component, and Parler has
       positioned itself as a destination for conservative users who have experienced—
       or have perceived they have experienced—censorship on other platforms.2 Many
       of these platforms allow content sharing from other platforms, and from the
       broader information space that includes countless websites, from established
       news media outlets to conspiracy theory blogs. And though journalists and
       researchers sometimes draw a distinction between social media and mass media,
       in a broader view, there are myriad connections between them, as, for example,
       cable news pundits craft their evening shows based on content that went “viral”
       that day on social media.3

       In addition, internet usage statistics suggest that most online information
       participants—or “users”—are not siloed in a single platform, but turn to dif-
       ferent platforms for different reasons.4 Political activists and others who wish
       to shape public opinion also employ multiplatform strategies, leveraging dif-
       ferent platforms for different parts of their information strategies, and often
       intentionally moving content from one platform to another.

       To facilitate our study of cross-platform misinformation, we grouped tickets
       created during our monitoring period into incidents: the information cascades
       that relate to a specific information event or claim, as described in Chapter 3
       and discussed more fully in Chapter 5. We used a mixed-method approach
       to analysis, combining real-time forensic documentation of individual tickets
       with follow-up qualitative and quantitative analyses of specific incidents and
       narratives.

       We observed that interactions between platforms created emergent cross-
       platform dynamics. For example, while Facebook was a place to reach large
       audiences and organize action, Twitter was a place to mobilize and “eventize”
       longer-form content stored elsewhere. Platform policies shaped some of these
       dynamics: moderation could lead to inter- and intraplatform spread, as users
       shared screenshots of deleted content or posted it to platforms with less strin-
       gent policies. Below we describe the roles that each platform plays in the
       election-related mis- and disinformation ecosystem.

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                                                                 4.2. Cross-Platform Information Sharing



               Cross-Platform Participatory Misinformation:
                 From Cellphone Snapshot to Nightly News

  Creation                             Create Content Documenting Incident      � � �
                                                                                 PHOTO   VIDEO     AUDIO




                           Mainstream                     Alternative                      Chat Platforms &
                           Platforms                      Platforms                        Message Boards
                           Post content to as many        If content is taken down,        Share content within
  Dissemination            platfoms as possible           host here and post link to       small or close-knit
                                                          mainstream                       communities

                           � Groups & Pages                                                ��
                           ������



                           Shared by Online               Influencers                      Alt-Media
  Amplification            Communities         �          Pickup                           Pickup                 �
  Virality Threshold   �

  IRL Action                                              Legal Action                     Mainstream
                           Protests         �             & Lawsuits         �             Coverage




 Facebook’s Role: Public Posts to Reach Large Audiences;
 Groups for Organizing Protests

 Facebook remains a widely popular social media platform, averaging around 2.7
 billion active users across the globe.5 For media outlets, information operators,
 and even ordinary people, Facebook represents an opportunity to reach large
 audiences. Public Pages can attract millions of followers, turning their creators
 into influencers with reach potential on par with some mass media outlets.
 Groups can be places where people congregate—in public and “private”— around
 a range of affinities. Through sharing functionality, content can move freely
 and rapidly between Groups, Pages, and personal accounts and their socially
 connected networks. Though our view into Facebook was limited to public
 content, we were still able to document the platform’s role in the spread of
 several false and misleading narratives.

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4. Cross-platform and Participatory Misinformation: Structure and Dynamics


       Facebook Pages as a Place to Reach Massive Audiences
       A number of partisan media and other right-wing influencers who appeared in
       our data collection used their Facebook Pages to spread false and misleading
       information about the election. Often, this was part of a multiplatform media
       strategy. On Facebook, this content received significant engagement, including
       tens of thousands of reshares for some posts and moving from public Pages to
       personal Facebook feeds.


       Facebook Groups as a Place to Share Rumors and Organize
       Facebook Groups, both public and private, served as virtual places to come to-
       gether and share stories of perceived election fraud and to organize a collective
       response. Perhaps the most successful was the STOP THE STEAL Facebook
       Group (discussed in detail in Chapter 3). The public Group started as a place
       to share stories, both first- and secondhand, about a potential “stolen elec-
       tion”—stories that were subsequently reshared through Facebook and cross-
       posted to other platforms. It grew rapidly, reaching 320,000 users in less than a
       day, assisted by cross-posted advertisements from right-wing influencers on
       Twitter.6 It, along with other Facebook Groups, quickly evolved into a place to
       organize protests; as some of the rhetoric grew violent and election workers
       were threatened, Facebook removed STOP THE STEAL less than a day after
       launch. Nevertheless, similar groups, albeit at smaller scales, continued to
       emerge after this takedown, as people looked for places to gather and ways to
       coordinate protest. In one case, a group of individuals organized a peaceful
       protest using a private Facebook Group.7 But their call-to-action was spread
       publicly and lost contextualizing information along the way, which led to a more
       chaotic protest.


       Twitter’s Role: Mobilizing Content from Other Platforms;
       Connecting to Media Outlets and other Influencers; Networked
       Framing
       Mobilizing Content from Other Platforms
       In the cross-platform spread of misinformation about the election, the Twitter
       platform served several diverse roles. A primary role was to provide a place
       to draw attention to content such as news articles, videos, and livestreams
       hosted elsewhere in the media ecosystem. The real-time nature of the platform
       provided an opportunity to connect existing content to the current news cycle,
       while platform affordances like short-form messaging and hashtag referencing
       enabled seemingly disparate narratives to be cross-referenced and integrated

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 from other sources. In particular, cross-posting from YouTube to Twitter was
 salient in our election integrity incidents, as shown in Figure 4.1.




 Figure 4.1: Temporal graph of tweets and retweets linking to prominent YouTube channels over
 time, in tweets per 15 minutes, for three prominent repeat spreaders (described in Chapter 5).

 By cross-posting their videos to Twitter, repeat spreaders worked to popularize
 videos alleging election fraud. In some cases, the Twitter spikes align closely with
 the release of a new video. The tweets linking to Project Veritas, a right-leaning
 activist media group, follow this pattern—each burst is related to a different
 video. In other cases, e.g., tweets linking to compilation videos produced by
 right-leaning CDMedia and Dr. Shiva Ayyadurai (a coronavirus and election-
 related conspiracy theorist and anti-vaccine activist, also known as Dr. Shiva),
 the same video is mobilized (re-introduced and widely spread) multiple times.
 Information cascades related to content from Project Veritas and Ayyadurai are
 described in Chapter 5.
 YouTube was not the only platform to serve as host for long-form videos subse-
 quently linked to Twitter to reach a larger audience. For example, Ayyadurai’s
 statistics-based content was regularly hosted on Periscope but cross-posted on
 Twitter to expand viewership and connect with other incidents using hashtags
 and tagging influential users.

 Connecting to Influencers
 Twitter also allowed prominent spreaders of election-related mis- and disin-
 formation to direct the attention of their own large audiences, as well as other
 influencers, to a specific piece of content; the content was then amplified across
 platforms by this audience of influential users, journalists, and politicians, in-
 cluding President Trump, his campaign team, and his family.
 The cross-platform nature of this amplification draws attention to the dynamics
 of “networked framing” (see box on page 166). Twitter often served as the focal

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       point for these collective narratives. In addition to the size of its audience,
       the platform’s mobile connectivity enabled disconnected fraud narratives to be
       drawn together and assembled into specific frames (i.e., widespread election
       fraud) using content from other websites and social media platforms.

       For example, the Hammer and Scorecard/Dominion narratives described in
       Chapter 3 began with claims of poll glitches in online conversations on websites
       and Twitter, then spread through YouTube videos and the use of hashtags re-
       lated to the incident on Twitter and other platforms, such as Parler and Reddit.
       From there, high-profile accounts drew further attention to the incidents, as
       did hyperpartisan news websites like The Gateway Pundit, which used Twitter
       to promote its article discussing the incident.8 This collective Dominion narra-
       tive spread has since grown, having been subsequently promoted by the Proud
       Boys, The Western Journal, and Mike Huckabee across a number of platforms,
       including Facebook, Twitter, Instagram, Telegram, Parler, and Gab.9 On each
       platform, these narratives remain tethered together by relying on the Twitter
       hashtags #dominionvotingsystems and #dominionsoftware. By bouncing un-
       reliable evidence back and forth from Twitter to other social media platforms,
       what were initially unremarkable incidents confined to local counties became a
       national story, much like the Stop The Steal and Sharpiegate narratives.


       Megathreads
       An additional technique unique to Twitter, due to its specific affordances around
       threading and content temporality, was the use of “megathreads”—dozens or
       even hundreds of tweets connected through reply-chains—to connect a mix
       of real incidents as well as false and misleading claims into a long narrative
       alleging fraud and attempting to delegitimize the election. One such thread
       featured detailed allegations of fraud, state-by-state, through over 100 author-
       appended replies to a single tweet, linking to a number of external website
       sources and content on other social media platforms. These types of threads
       leverage platform-specific design affordances: the list-based nature of megath-
       reads allows them to be recycled in terms of their visibility and engagement
       each time a new item is added to the list.


       Cross-Platform Sharing to Evade Moderation on Twitter
       For both Twitter megathreads and single posts spreading misinformation, the
       cross-platform nature of these narratives also limited the efficacy of the plat-
       form’s response. We saw numerous cases in which misinformation first shared
       on Twitter continued to spread on other platforms even after it was removed—
       in some cases, a simple screenshot of the since-removed tweet was shared
       elsewhere —as illustrated in Figure 4.2 on the facing page.

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        Figure 4.2: Screenshots of cross-posting on Facebook (left) and Reddit (right).




 On the left, we see a Facebook user posting a screenshot of his own reply on
 Twitter to perpetuate a disproven narrative even after it was removed on Twitter.
 On the right we find a similar instance on Reddit, where a tweet by political
 consultant Harlan Hill alleging a stolen election was hidden behind a label on
 Twitter but is presented in full on Reddit.



 In these ways and others, Twitter served to perpetuate and amplify misinforma-
 tion narratives despite efforts to limit its involvement.

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       YouTube’s Role: A Resource for Livestreams, Compilations,
       and Mobilizations
       Most major platforms now have the capacity for sharing video; however, YouTube
       exists as a uniquely popular platform for videos that are long-format and can be
       monetized. While search and recommendation functions exist within YouTube,
       traffic is often driven from other platforms. During the 2020 election, YouTube
       provided a space for video-format misinformation that could be shared easily
       across platforms. The platform functioned both to provide official and familiar-
       looking “evidence” for misleading narratives and to consolidate otherwise dis-
       parate narratives as part of a broader picture.

       Compilation and Long-Form Videos
       One effective form of YouTube content—in terms of spreading misleading narra-
       tives about the election—were compilations, or videos that synthesized content
       across different events and narratives.10 Though these longer videos may not
       have the potential for mass virality, they exist as touchstones for other misin-
       formation superspreaders to continuously refer back to—from other locations
       in the information ecosystem—as supportive evidence of the veracity of their
       narratives.
       These YouTube videos presented challenges to media literacy. They were typi-
       cally produced by partisan news outlets or users and organizations with a large
       presence on other platforms. These groups harnessed high production quality
       and verified accounts to create videos that either misled the public through
       deceptive editing or compiled multiple false and misleading narratives. Main-
       stream, cable, and hyperpartisan news outlets alike host content on YouTube,
       and much of it has a similar format, look, and feel. For example, Project Veritas’s
       videos often begin with host James O’Keefe sitting in what appears to be a well-
       established newsroom, and Shiva Ayyadurai’s videos present him as an expert
       source on a television news show.
       Another consequence of the long-form, multinarrative nature of YouTube videos
       is that misinformation—and even more so, disinformation—can be difficult for
       the general public to discern. A video containing several distinct narratives would
       require substantial time on the part of a scrupulous viewer to evaluate. This
       long-winded approach to misinforming can overwhelm, creating the impression
       of election fraud without the viewer critically evaluating, or even remembering,
       the slate of “evidence.”

       Livestreams
       YouTube is also used to build an audience for a unique type of content producer—
       the livestreamer.11 Several of the top accounts in our YouTube analyses are

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 conservative influencers who have used YouTube Live to build their following
 and subsequently spread mis- and disinformation. These include right-wing
 pundit Stephen Crowder, who hosts a daily livestreamed commentary show,
 and Dr. Ayyadurai. The YouTube Live feature (and its counterparts on other
 platforms, such as Facebook Live) create complex moderation challenges for
 platforms wishing to minimize misinformation, as the streams are often boosted
 in the moment by platform algorithms, though there is little opportunity to
 address claims in real time. Videos often persist on the platform permanently,
 where they continue to rack up views. However, in their permanent state they
 may be labeled. The top-viewed video in our data sample, for instance, is a
 livestream by Stephen Crowder titled “Live Updates: Democrats Try to Steal
 Election!?” that aired on November 4 and has subsequently gained over 5 million
 views. It was eventually labeled: “Robust safeguards help ensure the integrity of
 election results.”


 Long-Tail Platforms for Unique Formats and Niche
 Communities
 As mainstream platforms tend to exhibit some content moderation, these ac-
 tions feed into narratives of “censorship,” leading some users to seek alternative
 forums. These range from smaller platforms like TikTok, to almost entirely un-
 moderated spaces like 8Kun and Discord, to places where moderation is minimal,
 like Parler12 and some subreddits. The entirely unregulated spaces function as a
 breeding ground for more extreme narratives involving the Deep State, QAnon,
 and encouragement of political violence. However, these platforms’ relatively
 small user base necessitates misinformation leaking or being ported into more
 mainstream sites in order for it to have impact.


 Misinformation Narratives Reappearing on TikTok
 One phenomenon we observed was content that originated on other platforms
 such as Twitter, Facebook, and Instagram, then reappeared on TikTok. A com-
 mon tactic was the use of TikTok’s “green screen” feature, where users create
 a video with an uploaded image, screen capture, or video as the background.
 For example, as displayed in Figure 4.3 on the next page, tweets that shared
 misleading graphs aimed to delegitimize the election results in Michigan and
 Wisconsin were reshared as backgrounds on TikTok, where users discussed the
 conspiracies.

 Sometimes, content was actioned by one platform while it persisted unactioned
 on another. Figure 4.4 on page 159 below shows how one user, when TikTok took
 down a debunked video, used the platform’s green screen function to direct

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       Figure 4.3: A TikTok user reshares a tweet displaying misleading graphs to support the false
       narrative that the results in Michigan and Wisconsin have been rigged. The video received 29,000
       views, 1,751 comments, and 4,159 shares before being taken down.



       his followers to the same video on Instagram. TikTok and Instagram have since
       removed both videos.


       Instagramming Screenshots of Posts on Other Platforms
       Similar to TikTok, misleading content about the election on other platforms
       appeared later on Instagram. For example, several of the highly engaged-with
       Instagram posts from repeat spreaders consisted of screenshots of tweets—often
       tweets authored by other people. Many of these images included additional
       visual effects, such as added or crossed-out text, to reinforce, refine, or counter
       the meaning or framing in the original content. Some of the most influential
       repeat spreaders used Instagram as part of a multiplatform strategy, adapting
       their content to Instagram’s image-based format.

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 Figure 4.4: Cross-platform spread of a now-debunked video. Top left, a video allegedly showing
 burning ballots is posted to 8Kun on November 3, 2020, 11:27 am PT. Top right, a screen capture
 of the video that was posted to 8Kun. Bottom left, the next day at 2:00 pm PT, TikTok user Cuddy
 Camaro (@camarocuddy) posted a video using the 8kun video as his green screen. In the video,
 Camaro states that TikTok won’t let him upload the video, so he directs people to his Instagram
 account (@cuddycamaro), where he has posted the video. Bottom right, on Instagram, his post
 with the video received over 133,000 views by November 4, 2020, 5:00 pm PT, before it was taken
 down a few hours later.




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       Parler as an Emerging Meeting Place for Right Wing Influencers and
       Audiences

       Parler was another smaller, emergent platform that came to play a significant role
       in the 2020 election as a community for pro-Trump activism and perpetuation of
       pro-Trump conspiracy theories post-election.13 Unlike other platforms involved
       in the active, participatory cross-platform information flows described in this
       section, Parler largely served as something of an echo chamber set apart from
       the major platforms. While content from websites, Twitter, and YouTube were
       shared to Parler, the reverse was infrequent.

       Parler was established in 2018 as a “censorship-resistant” platform catering
       to right-leaning users and funded by conservative donors, including Rebekah
       Mercer. Its founders and early adopters—such as part-owner and prominent
       pro-Trump policital commentator Dan Bongino—recruited its userbase from
       right-leaning audiences who had come to feel that mainstream platforms were
       censoring them. Several of Parler’s earliest prominent accounts were individuals
       who had, in fact, been deplatformed on mainstream social media for specific
       rules violations, such as Alex Jones and Roger Stone.14 Users joined in bursts that
       were often tied to a particular allegation of censorship; in late June 2020, for
       example, when Twitter’s application of a fact-check label to President Trump’s
       tweets outraged his fan base, and again, in October 2020, when mainstream
       platforms chose to down-rank or not host private adult content from Hunter
       Biden’s laptop. On Parler, such content was easy to find. Parler’s commitment
       to “free speech” (and to not fact-checking information)15 meant that some of
       the wilder conspiracy theories and rhetoric about stolen elections— particularly
       rhetoric with violent undertones—were contextualized, throttled, or taken down
       by major platforms but moved freely within the Parler community. Members
       of communities on larger platforms, such as Facebook Groups, recognized
       this; we observed users within Groups that focused on election rumors and
       misinformation encouraging other members to create Parler accounts so that
       they could talk about the claims there.

       Parler’s user base saw significant growth in the days after the election.16 Many
       of its users joined because of their belief in conspiratorial narratives such as
       Hammer and Scorecard, which remained popular on Parler nearly two months
       after the election. However, Parler lacked certain features, such as Groups and
       the ability to sort by top posts, that have made its larger competitors more
       effective as places to convene for online activism. After its decision not to
       moderate violent content in the days leading up to the January 6 insurrection at
       the Capitol, it also struggled to retain hosting: Amazon, Apple, and Google each
       took action to remove it from their infrastructure, and it was only back online,
       with a new hosting service, as of February 16, 2021.

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 Messaging Tools
 Beyond platforms, false and misleading claims also proliferated via messaging
 tools. For example, multiple Miami residents received texts claiming that antifa
 and BLM protestors planned to terrorize the Miami area following the elec-
 tion. This example highlights how misinformation can be highly localized and
 originate from sources other than social or broadcast media.




 Figure 4.5: A text sent to some Miami residents falsely warning about antifa and BLM protesters.



 Cross-Platform Migration as a Demand-Side Issue
 Not only did content move across platforms—users themselves moved as well.
 Researchers often focus on the supply-side of mis- and disinformation— such
 as how misinformation spreads and its prominence during election cycles.17
 In the 2020 election, the response of social media users to content moder-
 ation policies—namely, migrating to alternative platforms such as Parler— fore-
 grounded the demand side of misinformation as well.
 In line with their content moderation policies, and as described in Chapters 2
 and 6, Twitter and Facebook used labeling and content removal to limit election-
 related misinformation on their websites. A subset of social media users re-
 sponded to such moderation with claims of liberal censorship, and migrated to
 platforms with weaker content moderation policies, like Parler. Parler CEO John
 Matze said that more than 4.5 million new people signed up for the platform in
 about a week. While it’s yet to be seen whether Parler’s newfound popularity

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       will continue (some evidence suggests Parler has seen a drop in usage from its
       pre-election days, and the platform has only recently regained a hosting service
       after the major ones dropped it), the migration suggests that content moderation
       by the major platforms won’t solve the misinformation crisis entirely.


       4.3     Dynamics of 2020 Election Misinformation
       The Timeline
       Misleading information about the 2020 election followed interesting temporal
       dynamics. In Chapter 3 we trace the evolution of the narratives—stories created
       by misinformation echoed past stories and gave momentum to the next wave;
       here, we follow how those stories traveled across the election misinformation
       landscape over time. During the pre-election period, efforts to preemptively
       delegitimize the election often appeared to be top-down, spreading through
       right-wing media and accounts of political figures.18 But they were also, in many
       cases, decentralized, with one-off incidents bubbling up through social media
       before reaching influencers and their large audiences. Together, these dynamics
       worked to foment a general distrust in the election.
       Election Day served as a day of data collection for partisan actors, who would
       later leverage individual tweets and stories as evidence for broader claims.
       Motivated by growing fears of a “rigged” election, a large number of people
       went to the polls looking for evidence of voting fraud. Many documented and
       used social media to share their experiences of perceived and real issues with
       the voting process, sharing videos, images, and personal accounts. Politically
       motivated individuals watching from home on social media contributed by
       amplifying content that aligned with their views or goals.
       In the week after Election Day, pro-Trump political operatives, right-wing media
       outlets, and other content creators—primarily though not exclusively on the
       political right—assembled evidence from Election Day into larger narratives
       attempting to delegitimize the results. Armchair statisticians combed avail-
       able vote tallies looking for anomalies that could be framed as potential fraud.
       YouTube opportunists made long-form videos connecting different incidents to
       the “electoral fraud” meta-narrative. Though initially chaotic, the information
       space began to concentrate on smaller incidents that were swept into larger
       narratives or growing conspiracy theories.
       Post election, false claims and misleading narratives began to coalesce around
       allegations of fraud in swing-state cities that favored Biden. Subsequent court
       cases seeking to throw out votes in these areas based on the allegations shed
       light on the motivation for this refocusing. A common tactic involved linking
       statistical evidence with unfounded claims of vote-tabulation fraud. Diffuse pre-

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 and post-election narratives were blended and presented as walls of evidence.
 Donald Trump and members of his legal team were instrumental in pushing
 these narratives, strategically employing them in an effort to overturn the results
 of the election through legal proceedings. Now, we can see some storylines
 have taken root, developing into more hardened conspiracy theories that may
 linger for years to come.

 One remarkable phenomenon is the persistence of certain narratives—e.g., that
 the election would be “rigged”—from the start of our data collection through
 the end. These narratives were already prevalent when we began our work in
 August, and as we write this report, participation in the narratives challenging
 the integrity of the 2020 election is ongoing, with new “evidence” still being
 added to the conversation, even as the discourse has converged around a few
 specific conspiracy theories. Research suggests that the conspiracy-theory
 type of misinformation will have the most staying power—as opposed to more
 ephemeral rumors that were quickly determined to be false.19 In particular,
 claims that are difficult to verify and theories that are impossible to falsify—for
 example, theories that software on voting machines switches votes without
 leaving a trace—will likely continue to spread for years to come. These conspiracy
 theories can become the tools of future disinformation campaigns, and they
 risk long-term effects such as the continued delegitimization of democratic
 institutions.


 Participatory Mis- and Disinformation
 Our analysis demonstrates that the production and spread of misinformation
 and disinformation about Election 2020—including false narratives of a “stolen
 election”—was participatory. In other words, these dynamics were not simply
 top-down from elites to their audiences, but were bottom-up as well, with
 members of the “crowd” contributing in diverse ways—from posting raw content,
 to providing frames for that content, to amplifying aligned messages from both
 everyday members of the crowd and media (including social media) elites.

 Repeatedly, our data reveal politically motivated people sincerely introducing
 content they mistakenly believed demonstrated real issues with election in-
 tegrity: from the user who claimed back in early September that a ballot in their
 name had been sent to their parent’s home in another state (weeks before ballots
 had actually been mailed out); to the man who thought that old ballots (from
 2018) in a dumpster were evidence of 2020 mail-in ballot fraud; to the person
 who thought they were capturing video evidence of a poll worker illegally mov-
 ing ballots on Election Day (it was a photographer moving his gear); to people
 who were given Sharpies to complete their ballots and mistakenly believed their
 votes therefore would not be counted.

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       Well-meaning, though often politically motivated, individuals repeatedly intro-
       duced this content into the broader information sphere, often via social media.
       In each of these incidents, the person originally reporting the issue (and many of
       those who passed it along) may have sincerely thought they had found evidence
       of voter fraud. However, it is also likely—especially considering what we know
       about confirmation bias20 —that political views and prevailing narratives about
       potential election fraud both contributed to these individuals’ misinterpretation
       of what they were experiencing and motivated them to share the content.

          Networked Framing: How Right-Wing Media and Social Media Influencers
          Helped to Frame “Evidence” of Ballot and Voting Issues as “Election Fraud”

          In Chapter 3, we noted the role of “framing,” or providing scaffolding for
          selected information to shape how people interpret the world, in helping
          to create and sustain the false “stolen election” narrative. Traditional
          notions of framing often place the power of creating and communicating
          frames within the domain of media elites.21 With the rise of participatory
          media and disruption of the historical role of “gatekeepers,” researchers
          have documented the phenomenon of “networked framing,” where diverse
          members of online communities—including political and media elites,
          social media influencers, and to some extent anyone with a social media
          account—collaborate to create and propagate certain frames.22
          In our analyses, we repeatedly saw this kind of networked framing in
          action. Diverse social media users—from anonymous accounts with small
          followings, to blue-check social media influencers, to accounts associated
          with hyperpartisan media outlets—were consistently helping to do the
          work of “framing” by assigning intent to, or exaggerating, real-world events
          in their posts, in such a way as to fit the narrative of election fraud. Though
          networked framing practices could be seen, to some extent, on “both sides”
          of the political spectrum, our data show that right-wing networks were
          far more active and influential (in terms of dissemination) in discourse
          that threatened election integrity (see Chapter 5, Figure 5.1 on page 186).
          One example of this networked framing activity occurred in late Septem-
          ber 2020, when a batch of mail—originally reported to have absentee
          ballots—was discovered in a ditch in Greenville, Wisconsin.23
          There was not, nor has there been discovered since, any evidence that
          this mail-dumping incident was politically motivated. Despite the lack
          of any evidence, this event was quickly picked up and positioned within
          the voter fraud frame—and the story eventually propagated widely within
          that frame, reinforcing the false perception of mail-in voting contributing
          to widespread election fraud.


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    The story of ballots in a ditch first appears (in significant numbers) in our
    data through an article on The Gateway Pundit,24 which often works by
    selecting content from other sources and positioning that content within
    their highly political frames. In this case, The Gateway Pundit repurposed
    an article from a local (FOX11) news outlet.25 In addition to embedding the
    content of that borrowed article in its text, The Gateway Pundit article
    added four sentences of original content.
   Its first sentence, which appeared above the borrowed content, made
   the framing clear. Without any evidence connecting the incident to any-
   one with a political motive, The Gateway Pundit’s article began with:
   “Democrats are stealing the 2020 election.” Next were two sentences mak-
   ing factual claims borrowed from the FOX11 article—that two trays of mail
   had been found and that they included absentee ballots. And finally the
   article attempted to make a connection between that mail and Democrats
   by stating that “The USPS unions support Joe Biden.”
   Those four sentences and the borrowed content are the entire article.
   Without evidence, it frames the improperly discarded mail as election
   “stealing” by Democrats. That article—and therefore that frame—spread
   widely on Twitter. It was tweeted/retweeted nearly 25,000 times. In total,
   we collected 60,000 tweets that referenced the incident.
    The early propagation of the narrative was assisted by @Rasmussen_Poll
    (through an original tweet linking to The Gateway Pundit’s article) and
    @EricTrump (through a retweet). Other online accounts picked up and
    advanced that voter fraud frame, calling it “LEFTIST VOTER FRAUD” and
    stating through a hashtag that “#DemocratsAreCheaters.”
    A few prominent social media accounts picked up the story with a slightly
    more subtle framing. For example, the tweet below, posted by another
    verified repeat spreader account, does not explicitly claim voter fraud,
    but shapes the interpretive frame toward “voter fraud” — or at the very
    least toward doubting the integrity of mail-in voting—by highlighting that
    the mail was “FOUND IN DITCH” and that it included “ABSENTEE ballots.”




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          Tweet from Chuck Callesto framing a mail-dumping issue as an election integrity concern.


          This event—and its framing as a “voter fraud” issue—eventually made it into
          a public statement by Kayleigh McEnany, White House press secretary.26
          This example demonstrates how hyperpartisan media and other promi-
          nent social media users on the political right reframed events in misleading
          ways to feed false narratives of widespread election fraud by Democrats.
          It also reveals another dynamic that we saw repeatedly across these in-
          cidents, where local media coverage was opportunistically appropriated
          and often recontextualized to fit election fraud narratives.
          Similarly, the Sharpiegate narrative (described in detail in Chapter 3.3
          on page 49) took shape through networked framing. Early tweets—from
          voters in various locations on Election Day—highlighted somewhat open-
          ended concerns about Sharpies bleeding through ballots. Tweets and
          retweets framing the concerns as potential voter fraud were often gener-
          ated by less prominent accounts, including voters describing perceived
          issues with their own ballots and “grassroots” political activists relaying
          and occasionally reframing those concerns. Often, accounts with smaller
          follower numbers would add @mentions of more prominent accounts to
          try to gain their attention and potentially gain traction for their content
          through a high-profile retweet or quote tweet. Those influencers and
          political media elites then used the claims to bolster the “rigged election”
          narrative.
          Together, these examples show how networked framing—including se-
          lecting certain pieces of evidence and placing it within the voter fraud
          frame—was not the exclusive terrain of high-profile accounts, but also
          incorporated the work of voters motivated to share their experiences
          and politically active social media users helping to identify and amplify
          potential cases of voter fraud.


       For example, President Trump’s many statements (including tweets) about the
       election being “rigged” may have sufficiently primed his supporters to be on the
       lookout for evidence of election fraud by the time the Trump campaign’s “Army
       for Trump” called for them to perform as formal and informal poll observers.
       The primary objective of these militarized calls to action was to motivate and
       organize the mass collection of purported “evidence” of election fraud. The
       social media data we collected reveal a large number of people searching for,
       and often mistakenly “finding,” evidence of the election fraud they believed was
       occurring—and then, in a case of participatory disinformation, actively sharing
       and resharing this kind of content.

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 Once introduced onto social media, these cases of false witnesses of “election
 fraud” were frequently picked up and amplified by influencers and rank-and-file
 accounts alike. Often, the person who introduced the content or another active
 social media user would try to call the attention of more prominent influencers
 to potentially relevant content by reposting with tags and/or mentions of more
 large-audience accounts. Those more influential accounts—often accounts of
 hyperpartisan media, conservative political figures, and other elite right-wing
 influencers—played the role of assembling this content to fit the larger narratives
 (e.g., a “rigged election”) and of spreading it to increasingly large audiences.




 Figure 4.6: Cumulative graph of Sharpie tweets on November 3 (Election Day) and November 4.
 Individual tweets are plotted at the time they were shared and sized by the number of followers
 of the account posting them. Color and shape represent tweet type: original tweets in green
 squares, reply tweets in yellow squares, retweets in blue circles, quote tweets in red diamonds,
 and retweets of quote tweets in red circles.

 Figure 4.6, the cumulative graph of the early spread of “Sharpiegate” rumors,
 shows the process of participatory disinformation. The conversation started
 relatively small—with many small-follower accounts often tweeting their own
 experiences—and then began to gain traction through quote tweets and retweets
 by accounts with increasingly large audiences, eventually taking off with the
 help of President Trump’s two adult sons.
 In dozens of election-integrity incidents, these false or misleading narratives
 eventually reached the inner echelons of the Trump campaign. In a few notable
 cases, we saw the narratives move beyond social media into large television
 audiences through President Trump’s debate performances.

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4. Cross-platform and Participatory Misinformation: Structure and Dynamics


       Friend-of-a-Friend Narratives
       One type of participatory misinformation we saw was the “friend-of-a-friend”
       story.27 These pieces of evidence, which were often wrapped into larger nar-
       ratives about disenfranchisement or election fraud, reference a story that the
       person “heard” from someone else, and the content can extend to increasing
       degrees of separation—the “friend-of-a-friend.” One story asserted that a per-
       son’s friend had voted for Biden and the machine changed her vote to Trump
       (see Figure 4.7).




       Figure 4.7: A tweet claiming that a voting machine changed their friend’s vote from Trump to
       Biden.

       This story spread on Facebook and Twitter, and likely appeared elsewhere as
       well. We saw a similar dynamic, though to a smaller extent in terms of spread,
       around claims that a Trump supporter had been redirected to the wrong polling
       location (see Figure 4.8).




              Figure 4.8: A tweet claiming that a friend was sent to the wrong voting location.

       The spread of these stories has a couple of common drivers. First, “friend” can

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 take on new meaning in online spaces, where an otherwise stranger posting
 to a Facebook Group can be considered a “friend” whose message is worth
 spreading. This can result in often well-meaning (or at least not ill-intentioned)
 people passing along content (“sharing is caring”) that people think will be
 informative or otherwise helpful to others. Second, friend-of-a-friend rumors
 can be intentionally copied and pasted, sometimes with small changes to minor
 details—referred to as copypasta—to give the sense that a large number of people
 have experienced a rare event. The Sharpiegate story also spread through friend-
 of-a-friend posts; we collected hundreds of tweets mentioning a friend whose
 ballot was cancelled due to the use of Sharpies.




            Figure 4.9: A tweet claiming that use of a Sharpie canceled their vote.


 In actuality, the online database provided the status of voters’ mail-in ballots,
 which were canceled when they chose to vote in person.


 The Use of Bad Statistics to Sow Doubt in Election Results
 Elections produce vast quantities of data, from national Electoral College totals
 to fine-grained, precinct-level results. The sociological processes that underlie
 voting patterns are complex and varied, and are impacted by both structural
 features (i.e., the shape and size of precincts), voting process (i.e., access and
 eligibility), and the political landscape (i.e., candidates and issues). Each of these
 factors, and more, introduce patterns and benign irregularities into voting data
 that can be difficult or impossible to tease apart.
 In the wake of the 2020 election, the scale and irregular nature of voting data
 was weaponized to create statistical disinformation in order to undermine con-
 fidence in the result. One of the more common tactics was to analyze precinct-
 level vote totals using Benford’s law. In brief, Benford’s law makes predictions
 about the frequency of first and/or second digits in a dataset. Violations of these
 predictions have been used to some success as a tool for detecting financial
 fraud, and have gained traction in recent years as a potential mechanism for
 determining electoral fraud, despite well-documented theoretical and practical
 limitations.28

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       Figure 4.10: Ward-level analysis of first digits of vote totals in Milwaukee in the 2020 election,
       redrawn from original data but similar to observed misinformation. The line indicates Benford’s
       law, whereas the bars indicate the observed frequencies of first digits from 1 to 9.


       One prominent example of disinformation invoking Benford’s law involved the
       vote totals for wards in Milwaukee, Wisconsin, as seen in Figure 4.10. While
       Trump’s vote totals approximated Benford’s law, Biden’s had a surplus of digits
       4 through 6, and a dearth of digits 1 and 2. This was promoted as definitive
       evidence of election fraud on both far-right websites and social media platforms
       like Reddit, Facebook, and Twitter. However, the true cause was much more
       benign. The excess digits are a signal of Biden’s lead and average precinct size,
       and not indicative of fraud.29 More generally, Benford’s law is not expected to
       be followed when data do not span several orders of magnitude or for voting
       processes in general.30
       The misinformation surrounding Benford’s law follows a familiar pattern. A
       statistical model sets up an (often flawed) expectation of how voting data should
       appear. Violations of this expectation occur, either due to chance (i.e., checking
       many locations), a mismatch between the data and model’s assumptions, or an
       inappropriate application of the statistical model. Ethical, well-meaning statisti-
       cians discovering an irregularity would then get to work understanding whether
       it arose as a problem with the model (i.e., failing to account for demographics),
       the data (i.e., a rounding/processing error), an honest mistake, or in rare cases,
       fraud. In cases of misinformation, irregularities are taken as prima facie proof
       of fraud.
       In another example, Shiva Ayyadurai posted a fraught analysis, choosing variables

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 that artificially created the impression that Trump did more poorly than expected
 in more Republican areas to suggest voting machines were changing votes to
 Joe Biden.31 He further used the imposed negative slope to estimate purported
 switched votes, which fed into misleading narratives about Dominion voting
 software (discussed in more detail in Chapter 3).

 These are two of many ways in which election data was weaponized to pro-
 mote false narratives of widespread electoral fraud. This tactic is particularly
 challenging, as it simultaneously creates the impression of widespread fraud
 while leveraging statistical analyses that average citizens cannot reasonably be
 expected to critique, leading them to accept claims of technical meddling at face
 value. Debunking can be challenging even for statistically proficient academics,
 as no affordable academic-facing API exists to gather election data in real time.
 We observed that when data is available, it can require unique solutions to ac-
 cess and clean into a usable format (i.e., scraping PDFs or websites). In many
 cases, data were simply unavailable, were of low quality (e.g., just percentages),
 or would require ethically or legally questionable scraping. Freed from legal and
 data-quality constraints, purveyors of statistical disinformation remain at an
 advantage.


 Organized Outrage: Online Misinformation’s Offline Impact
 The spread and impact of misinformation is not merely confined to the on-
 line world. Indeed, many of the narratives we explored explicitly called for,
 and resulted in, offline actions. Pre-election, this was seen most clearly in
 the #ArmyforTrump hashtag, in which the Trump campaign and right-leaning
 influencers directed supporters to sign up to become poll watchers for the
 campaign and to submit purported evidence of electoral fraud to the campaign
 team. Trump’s legal campaign in the weeks post-election repeatedly relied
 upon questionable public testimonies of fraudulent behaviors in legal challenges
 to courts across the country. These affidavits and public testimonies are the
 consequence of the public priming of fraud pushed by the #ArmyforTrump
 campaign (along with the many other election fraud narratives discussed in
 this paper), and a weaponization of the information elicited through the digital
 disinformation campaign.

 Similarly, misinformation narratives that arose on Election Day itself led to
 in-person organized outrage, as seen most notably around the #Sharpiegate
 conspiracy. Despite swift debunking from election officials in Arizona, the
 #Sharpiegate theory gained traction across local Facebook Groups and on
 Twitter. This culminated in protestors gathering outside the vote counting
 center in Maricopa County shouting about the conspiracy and chanting to “stop
 the count.”

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       Similar protests in swing states across the country were coordinated by social
       media misinformation campaigns like #Sharpiegate and the more national Stop
       The Steal campaign. The protests not only targeted key election sites but
       were organized more generally in larger cities across the US, including large-
       scale demonstrations in Washington, DC. These in-person events gave new
       life to election misinformation, cementing its believability by affording them
       physical presence and further weakening the ability of fact-checkers to counter
       their spread. The organized outrage facilitated by blue-check influencers thus
       leveraged misinformation to organize mass protests that further delegitimized
       the electoral process and its results.


       From Manipulating the Information System to Leveraging the
       Legal System
       Mis- and disinformation that originated and spread online eventually gained an
       offline presence in the courts. Buried in the litany of lawsuits filed by the Trump
       campaign in the post-election period were the same participatory mis- and
       disinformation cascades traceable to online right-wing networks. Many of the
       same false claims and misleading narratives we covered in our real-time analysis
       fed the Trump administration’s meta-narrative of widespread election fraud.
       Right-wing groups friendly to the President’s cause filed lawsuits that built on
       these narratives as purported evidence of the illegitimacy of the election.
       One prominent example of this behavior is exemplified in the false—now re-
       canted —affidavit provided by an Erie, Pennsylvania, post office worker and
       publicized by Project Veritas.32
       Initially, the sworn affidavit contained allegations that the USPS had repeat-
       edly backdated ballots—claiming that as evidence of widespread fraud. Later,
       the worker went on record with the House Oversight Committee to recant his
       allegation (though Project Veritas denies the veracity of his recantation).33 De-
       spite the fallout, the air of legitimacy attached to a legal document may benefit
       proponents of online disinformation campaigns and reinforce the “truth” of a
       particular narrative.34
       In another case, also in Pennsylvania, Republican representative Mike Kelly filed
       a state lawsuit that challenged the constitutionality of the state’s 2019 mail-in
       voting statute. In its statement of facts, the original complaint discussed a
       number of unsupported claims that had circulated throughout online commu-
       nities, including, for example, claims about “unsolicited ballots” (¶56–57) and
       an attempt by the 2019 Pennsylvania legislature to subvert the legitimacy of
       future elections by setting in motion a plan to shift to universal mail-in voting
       (¶82–84).35 The Pennsylvania Commonwealth rejected his claims; on appeal
       before the Supreme Court, Kelly’s action doubly failed.36 Had Kelly succeeded in

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 his quest to invalidate the statute, over two million Pennsylvania ballots would
 have been thrown out.
 Finally, a handful of legal actions also incorporated bad statistics common among
 online proponents of disinformation. One particularly visible example of this
 phenomenon comes by way of a complaint filed by Sidney Powell,37 a vocal
 Trump supporter,38 in the US District Court for the Northern District of Georgia.
 Powell filed similar complaints in other key battleground states; all have since
 been dismissed.39 In these complaints, Powell’s team relied on the misinterpre-
 tations and/or misrepresentations of deviations from Benford’s Law discussed
 above.40 Although experts agree that these deviations are not evidence of elec-
 toral fraud,41 the online misinformation transformed into “IRL” disinformation
 through Powell’s multiple, failed legal actions.
 In sum, popular narratives that emerged from these participatory mis- and
 disinformation dynamics were repeatedly mobilized as “evidence” in the courts.
 Although the actions brought were often dismissed as baseless, this phenomenon
 is unlikely to disappear in years to come.


 4.4     Summary
 The work of producing and spreading misleading narratives about the 2020
 election was cross-platform, leveraging diverse platforms in complementary
 ways to seed, amplify, and mobilize content while adapting around efforts by
 the platforms to address misinformation. The work was both top-down, with
 President Trump and right-wing media establishing the initial frames of “voter
 fraud” and “election rigging,” and bottom-up, with armies of volunteers providing
 content and analysis to develop specific narratives to fit those frames. With
 his many “RIGGED!” tweets, starting long before the election, and his Army for
 Trump advertisements, President Trump didn’t just prime his audience to be
 receptive to false narratives of election fraud—he inspired them to produce
 those narratives and then echoed those false claims back to them. Everyday
 people, likely motivated by their political views, went online to share content
 highlighting what they believed to be voting irregularities. Hyperpartisan news
 and social media influencers played a role in selection, amplification, and framing,
 assembling the “evidence” of the crowd to fit their narratives and then mobilizing
 that content across platforms. Those narratives led to real-world efforts in the
 form of protests and legal action, both of which set the course toward the events
 at the US Capitol on January 6.




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                                                                       Chapter        5
               Actors and Networks: Repeat
                       Spreaders of Election
                            Misinformation

 5.1     Introduction
 In this chapter, we look systematically across EIP tickets to trace content across
 platforms to identify “repeat spreaders”—i.e., individuals and organizations who
 were repeatedly influential in spreading false and misleading narratives about
 the 2020 election. We address the following questions:


    • Which Twitter accounts, Facebook Pages/Groups, and YouTube channels
      were most influential in the spread of these narratives?

    • What domains were used to host content that was then mobilized through
      social media in the spread of those narratives?

    • Considering the structure of the online discourse, in which communities
      (networks of accounts) were these repeat spreaders located?


 5.2     Methods for Identifying Repeat Spreaders of
         False and Misleading Narratives
 To identify the repeat spreaders, we draw from three complementary views:
 one from our ticketing and analysis process (described in Chapters 1 and 2); a
 second through Twitter data EIP partners collected contemporaneously; and a

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       third through CrowdTangle and Facebook search functionality, collected after
       the EIP’s real-time analyses ended.
       These complementary views allow us to:

          • Identify some of the most influential accounts and most widely shared
            domains on two of the most widely used platforms (Facebook and Twitter).

          • Explore, through tracing links in our Facebook and Twitter data, how other
            widely used social media platforms (like YouTube) fit into these incidents.

          • Observe cross-platform connections and sharing practices.


       Delineating Election-Integrity Incidents
       Through our live ticketing process, analysts identified social media posts and
       other web-based content related to each ticket, capturing original URLs (as well
       as screenshots and URLs to archived content). In total, the EIP processed 639
       unique tickets and recorded 4,784 unique original URLs.
       After our real-time analysis phase ended on November 30, 2020, we grouped
       tickets into incidents and narratives. We define an incident as an information
       cascade related to a specific information event. Often, one incident is equivalent
       to one ticket, but in some cases a small number of tickets mapped to the same
       information cascade, and we collapsed them. As described in Chapter 3, inci-
       dents were then mapped to narratives—the stories that develop around these
       incidents—where some narratives might include several different incidents.
       For tractability, we limited our analysis in this chapter to 181 tickets mapped
       onto 153 incidents related to the narratives in Chapter 3 and that we determined
       to either (1) have relatively large spread (>1000 tweets) on Twitter, or (2) be of
       “high priority” as determined by analysts during our real-time research.
       Next, through an iterative process, we identified a keyword-based search string
       and a time window for each incident that would allow us to capture a compre-
       hensive, low-noise dataset from Twitter, Instagram, and Facebook. We also
       collected data for each incident from YouTube using links to that platform from
       Twitter.


       Collecting Data for Each Incident
       Twitter Data Collection
       We collected data from Twitter in real time from August 15 through December 12,
       2020.1 Using the Twitter Streaming API,2 we tracked a variety of election-related
       terms (e.g., vote, voting, voter, election, election2020, ballots), terms related

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                                                             5.3. Most Engaged Incidents


 to voter fraud claims (e.g., fraud, voterfraud), location terms for battleground
 states and potentially newsworthy areas (e.g., Detroit, Maricopa), and emergent
 hashtags (e.g., #stopthesteal, #sharpiegate). The collection resulted in 859
 million total tweets.
 From this database, we created a subset of tweets associated with each incident,
 using three methods: (1) tweets recorded in our ticketing process, (2) URLs
 recorded in our ticketing process, and (3) search strings.
 Relying upon our Tier 1 Analysis process (described in Chapter 1), we began with
 tweets that were directly referenced in a ticket associated with an incident. We
 also identified (from within our Twitter collection) and included any retweets,
 quote tweets, and replies to these tweets. Next, we identified tweets in our
 collection that contained a URL that had been recorded during Tier 1 Analysis
 as associated with a ticket related to this incident. Finally, we used the search
 string and time window developed for each incident to identify tweets from
 within our larger collection that were associated with each election integrity
 incident.
 In total, our incident-related tweet data included 5,888,771 tweets and retweets
 from ticket status IDs directly, 1,094,115 tweets and retweets collected first from
 ticket URLs, and 14,914,478 from keyword searches, for a total of 21,897,364
 tweets.


 Facebook and Instagram Data Collection
 To understand how the information ecosystem looks from the perspective of
 Facebook and Instagram, we collected public posts through the CrowdTangle API
 from Facebook Groups, Facebook Pages, Facebook verified profiles and public
 Instagram accounts. We used the same set of incidents, and adapted the search
 strings to capture comprehensive, low-noise samples for each incident from
 these platforms. We had to adjust the search strings, often adding additional
 search criteria (voting- and election-related terms) to bring the results into
 alignment with our Twitter data, which was already constrained to voting-
 related data.


 5.3     Most Engaged Incidents
 The 153 incidents examined varied dramatically in spread, ranging from under
 1,000 tweets to over 7 million tweets in a single incident. Overall, the majority
 of these incidents focused on topics related to delegitimization (110 of the
 incidents), although several were associated with participation interference (25
 incidents) and procedural interference (23 incidents).3 Table 5.1 enumerates the

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        ten most prominent incidents (by Twitter spread) with a short description of
        each.


        5.4     Political Alignment of Influential Twitter
                Accounts
        To understand the social structure of Twitter accounts that posted about the
        United States election, we created a network map10 of influential accounts
        and the engaged audiences they share, using retweets as a rough measure of
        influence. We included two accounts as nodes in our network if at least seven
        users in our election-related Twitter streams retweeted both accounts at least
        20 times each between September 1 and December 1, 2020. In practice, this
        means that accounts are connected to each other if they share a similar audience
        of accounts retweeting them. We then identified community clusters within
        this network,11 excluding small or unrelated communities.
        As displayed in Figure 5.1 on page 186, this pruning left us with two communities
        broadly aligned with the US political right and left. The right-leaning community
        was composed of two heavily intertwined communities: (1) prominent right-wing
        (pro-Trump) influencers in politics, media, and social media; and (2) a community
        of largely anonymous accounts who were active and vocal supporters of Trump,
        QAnon, and other right-wing groups. The left-leaning community was focused
        around left-leaning politicians, pundits, and mainstream news outlets, with
        satellite communities consisting of users with more socialist politics, and a
        small group of high-volume, activist users behaviorally similar to the much
        larger right-wing activist community.
        First, we looked at the incident-sharing behavior of the accounts represented
        in this network, using the community structure to draw meaningful differences.
        We found that influential accounts associated with the US right shared more
        incidents than the left both by absolute number (151 vs. 119 tickets) and by the
        total number of times they were retweeted in these incidents (17.8 million vs.
        1.9 million retweets). The majority of incidents were primarily spread by the
        right-wing communities: right-leaning accounts were retweeted more than left-
        leaning accounts in 129 incidents, while left-leaning accounts were retweeted
        more in 23.
        Many incident-related tweets from left-leaning accounts were attempting to
        fact-check, rather than uncritically spread, the false and misleading narratives.
        In one of the most extreme examples, a false claim made by Michelle Bachman
        that ballots pre-filled in China were being smuggled into the United States
        received more spread on the left than the right, solely due to fact-checking be-
        havior. Sometimes, the left-leaning accounts’ propensity to fact-check appeared

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                                             5.4. Political Alignment of Influential Twitter Accounts



                              # of Related
       Incident Title                                                    Description
                                Tweets
                                                This incident accused Dominion Voting Systems software
                                                of switching votes in favor of Joe Biden, particularly in
   Dominion Voting                              swing states like Georgia; as of January 2021, Dominion has
                                   7,157,398
   Systems: Swing States                        filed defamation lawsuits against prominent individuals and
                                                media that perpetuated this claim, and some have retracted
                                                their stories.4
                                                This broadly defined incident was based on tweets from
                                                verified users broadly supporting the #StopTheSteal
   Stop The Steal                 2,888,209
                                                narrative, which alleged that certain states were not
                                                properly counting votes for President Trump.
                                                This incident falsely claimed that in-person voters in
                                                Arizona (believed to be predominantly supporters of
   Sharpiegate                      822,477     President Trump) were given Sharpies to vote with, which
                                                the machines would be unable to read, thus causing their
                                                votes to be excluded.
                                                This incident centered on narratives that a GOP-affiliated
                                                poll watcher was wrongfully denied entry to a Pennsylvania
                                                polling station. This content was then reframed to falsely
   Pennsylvania Poll
                                    618,168     claim that this was evidence of illegal actions taking place
   Watcher
                                                in the polling station. While the video does show a poll
                                                watcher being denied, it lacked broader context as to the
                                                reason for denial, which was not politically motivated.5
                                                This incident centered on footage from Project Veritas
                                                showing a postal worker claiming that the post office had
   Pennsylvania Postal                          ordered him to backdate ballots that arrived after the
                                    591,838
   Whistleblower                                voting deadline in Pennsylvania. The whistleblower, after
                                                being questioned by investigators, later recanted these
                                                statements.6
                                                This incident focused on several whistleblowers from
   Michigan Poll Watcher                        Michigan, some who were poll watchers in Wayne County
                                   498,366
   Whistleblowers                               (home to Detroit), alleging, in a video, various illegal actions
                                                by poll workers.
                                                This incident focused on false claims, based on
                                                misinterpretations of information on a Michigan
   Michigan Dead Voters            486,096
                                                government-affiliated website, that dead and implausibly
                                                old people had voted in the 2020 election.7
                                                This incident centered on misleadingly edited video
                                                footage that claimed to show federal employees conspiring
   Sunrise Zoom Calls               475,581     with the left-leaning environmental activist organization
                                                Sunrise Movement to organize a coup, leak information,
                                                and shut down Washington, DC.8
                                                This incident claimed that a whistleblower who worked for
                                                the Clark County Elections Department (which
                                                encompasses portions of Las Vegas) had come forward with
   Nevada Whistleblower             415,614     a list of various “nefarious behaviors.” These included
                                                falsely claiming that illegitimate ballots were being
                                                processed and that people were filling out ballots that were
                                                not their own near a Biden/Harris campaign van.
                                                This incident, seeded by a Project Veritas video, surfaced
   Minnesota Ballot                             otherwise unsupported claims of ballot harvesting in
                                    415,570
   Harvesting                                   Minnesota and attempted to connect those claims to US
                                                Representative Ilhan Omar (see discussion in Chapter 3).9

                         Table 5.1: Top 10 most-tweeted incidents in our data.



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        Figure 5.1: A network visualization of influential Twitter accounts from our dataset of election-
        related tweets collected from September 1 to December 1, 2020.12 Each node is one Twitter
        account, and two nodes are linked together if they are retweeted by the same accounts. Two
        nodes are pulled closer together if they share more accounts, and larger nodes are connected to
        more accounts. Node colors correspond to automatically determined clusters of users, which
        broadly split into right- and left-wing communities. Subcommunities include activist accounts
        on both the left and right, and a socialist-leaning cluster on the left.



        to stall the spread of some misleading incidents, such as when the spread of a
        false claim about ballots being unlawfully rejected in Georgia was significantly
        slowed after a series of corrective fact-checks. In other incidents, these fact-
        checks came too late; a check for a similar false claim about undelivered ballots
        in Florida came more than 24 hours after initial spread, and had no discernible
        impact on subsequent sharing. There were also instances of misinformation
        originating and spreading almost solely via left-leaning accounts, such as a
        video of an overflowing ballot room in Miami-Dade implying that Postmaster
        General DeJoy was hiding ballots for Biden in the critical county, as well as some
        incidents in which both the right and left participated, such as the mail-dumping
        incident in Glendale, California, described in Chapter 3.13

        Influential accounts on the political right, by contrast, rarely engaged in fact-
        checking behavior, and were responsible for the most widely spread incidents

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